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                                            Andrew Scott
                                          February   05,    2018

     1                  IN THE UNITED STATES   DISTRICT COURT
                                                                                        |
                              SOUTHERN DISTRICT OF TEXAS
     2                             HOUSTON DIVISION
                               CASE NO.4:15-CV-003495
     3




 4          ESTATE OF JORDAN BAKER,         by and     through administrator,
            JANET BAKER,
     5




 6                        Plaintiff,
            -vs-

 7

            JUVENTINO CASTRO,     THE CITY OF HOUSTON,              AND     RPI
     8      MANAGEMENT     COMPANY, LLC,

 9                        Defendants.
10

11

12                 VIDEOTAPED DEPOSITION OF ANDREW J.              SCOTT,     III
13
                               Monday, February 5, 2018
14                                10:00 - 3:00 p.m.
15

16

17                         1900   Northwest Corporate Blvd.
                                         Suite 200
18                            Boca Raton,    Florida       33431

19
                                                                              EXHIBIT
20          Reported    By:
            Antoinette Garza, RPR, FPR
21          Notary Public, State of Florida
22

23

24

25



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                                                                                                            Andrew Scott
                                                                                                          February 05,                              2018                                                                                                     2             to            5


                                                                                                               Page     2                                                                                                                                                   Page             4

           1   APPEARANCES:                                                                                                              1                                           PROCEED                                  I    NGS
           2   On     behalf                    of        the        Plaintiff:                                                          2
                                                                                                                                                                                                        -       -    -




           3                MARK                LOEVY-REYES, ESQUIRE
                                                                                                                                         3                Deposition                 taken before Antoinette Garza,
                            LOEVY                &        LOEVY

           4                 311           N.        Aberdeen                                                                            4    Registered                  Professional                      Reporter and Notary                                   Public
                             3rd Floor                                                                                                   5    in and for the State of Florida at Large, in the
           5                Chicago,                       IL        60607                                                               6    above cause.
           6                                                                                                                                                                                       -            -         -

                                                                                                                                         7




           7




                                                                                                                                         8                            THE        VIDEOGRAPHER:                                Good           morning.             We're           now
           8   On     behalf                    of        the        Defendants:
           9                JENNIFER                       F.        CALLAN,        ESQUIRE                                              9                on        the     video record.                            Today              is     Monday,            the        5th        day

                            CAMELA                   J.         SANDMANN,           ESQUIRE                                     10                        of        February 2018.                          The           time          on     the       monitor             is
  10                        CITY            OF            HOUSTON            CITY    ATTORNEY
                                                                                                                                11                        10:07           a.m.            We're         here              at       1900 Northwest                          Corporate
                            900            Bagby
                                                                                                                                12                        Boulevard,                 Boca Raton,                          Florida,                 for     the        purpose of
                            3rd Floor
  11

                            Houston,                       TX        77002
                                                                                                                                13                        taking            the      deposition                      of Andrew                     Jay Scott,                III,
  12
                                                                                                                                14                        taken by the defendant in case number
  13                                                                                                                            15                        415-CV-003495.                          The           case              is    the        Estate of Jordan
  14
                                                                                                                                16                        Baker           versus           Juventino                      Castro,              et    al,        which         was

  15
                                                                                                                                17                        filed in               the       Southem                   District                  of Texas.
  16           ALSO         PRESENT:
                                                                                                                                18                                    The        court reporter                               is       Antoinette               Garza         of
  17                        U.S.            LEGAL                SUPPORT           VIDEOGRAPHY

  is
                                                                                                                                19                        U.S.        Legal Support.                                The           videographer                  is Michael

  is                                                                                                                            20                        Hollander               of       U.S.         Legal Support.
  2o                                                                                                                            21                                    Would          all counsel please state their
  21
                                                                                                                                22                        appearances for the record.
  22
                                                                                                                                23                                    MS.        CALLAN:                Jennifer                       Callan,           City         of    Houston
  23

  24
                                                                                                                                24                        and Officer                     Castro.
  25                                                                                                                            25                                    THE       VIDEOGRAPHER:                                 Camela Sandmann,                         City         of



                                                                                                              Page      3                                                                                                                                                  Page              5

       1                                                                     I    NDEx                                               1                    Houston            and Officer                        Castro.
                                                                                                                                     2                                MR.       LOEW-REYES:                               Mark Loevy-Reyes                            on    behalf
       3       WITNESS:                                   DIRECT                   CROSS         REDIRECT   RECROSS
                                                                                                                                                          plaintiff.
                                                                  III
                                                                                                                                     3




               ANDREW             J.        SCOTT,
                                                                                                                                     4        Thereupon,
       4




       5       By     Ms.         Callen                         5                                  217                              5                                            (ANDREW          J.           SCOTl',                III)
       6       By     Mr.         Loevy-Reyes                                        211                                             6        having been                   first          duly sworn or affirmed,                                          was        examined

       7
                                                                                                                                     7        and    testified                  as        follows:
                                                                                                                                     8                                THE       WITNESS:                    I       do.
       8                                                             EXHIBITS
                                                                                                                                     9                                                    DIRECT            EXAMINATION

                                                                                                                                10            BY    MS.        CALLAN:


               NUMBER                            DESCRIPTION                                                  PAGE
                                                                                                                            !   11                        Q.          Mr.       Scott,            for the record could you please
  10                                                                                                                            12            state your                  full       name?

  11           Exh.         No.        1             Notice                                                       s
                                                                                                                                13                    A.              Andrew              Jay Scott,                      III.
  12           Exh.         No.        2             Report                                                       8             14                                    How       are you            currently                           employed?
                                                                                                                                                          Q.

  13           Exh.         No.        3             Supplemental report                                          59
                                                                                                                                15                    A.              I'm       employed,                   I       have           a    background screening
  14           Exh.         No.        4             CV                                                           32
                                                                                                                                16            company called                      Scott-Roberts                               and Associates.                          That's
  15           Exh.         No.        5             Updated            CV                                        32

  16           Exh.         No.        6             Model           Policy                                      114
                                                                                                                                17            one of           my     companies.                   The              other is                 AJS     Consulting,

  17           Exh.         No.        7             Invoice                                                      10            18            which        I    supply            or provide,                        excuse              me,        expert witness
  18           Exh.         No.        8             Documents                   reviewed                         12            19            CODSultation to both                                plaintiffs                           and defense               as        well      as

  19           Exh.     No.            9             Bulletin                                                     146
                                                                                                                                20           provide            security                  assessments                         for companies                  that need
               Exh.                                  Photo
  20                        No.        10                                                                         134
                                                                                                                                21            assessments                  of     their particular                                     facilities.
               Exh.                                  Fryer           report
  21                    No.            11

                                                     Witness            statement
                                                                                                                  175
                                                                                                                                22                    Q.
                                                                                                                                                                     Weill           get         into           those              in    a     little        bit.            But
  22           Exh.         No.        12                                                                         176

  23           Exh.     No.            13            Castro            IED                                        176
                                                                                                                                23           before            we     start,           you understand                                  you are here               for        a




  24
                                                                                                                                24            deposition that                        --     and you received                                   a    notice        which I'm
  25                                                                                                                            25           marking            as        Exhibit           1.




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                                                                                                                                       Andrew Scott
                                                                                                                            February                              05,                 2018                                                                                        18               to              21
                                                                                                                                         Page               18                                                                                                                                         Page              20
           1               Q.              Those are                         the    only photos you have of                                                               1    of     Force,                authored by Ronald                               G.     Fryer,         F-R-Y-E-R,                      Jr.

           2   Mr.     Baker               would               be        at       the        crime           scene?                                                       2    I'm     not         sure            --       excuse              me.         It's     July        2016 is               when         it
           3               A.              Yes.                                                                                                                           3    was     published.
           4               Q.             And you used                             all        of     these          to     formulate              your                    4                                 I    reviewed              an               article from the American
           5   opinion               that           is         in the exhibits that                                   we    have here                                     5    Psychological                          Association                         titled, Policing In Black                                      And

           6   today?                                                                                                                                                     6    White.             That            was        published                     in December of 2016, volume
           7               A.              Yes.                                                                                                                           7    47,     number                   11.

           8               Q.              Exhibit                  2        actually.                                                                                    8                                 I    reviewed              an               article     from        the      International
           9                               Okay.                   Anything else?                                                                                         9    Association                       of        Chiefs              of        Police     titled, Implicit                          Bias

  10                       A.              I'm           not        understanding                         the       question.                                    10            Versus          the              Ferguson              Effect,               Psychological                    Factors
  11                       Q.             Anything else that you reviewed?                                                                                       11            Impacting Officers'                                    Decisions               to     Use        Deadly            Force.

  12                       A.              Yes.                I    have           material that                      I    used to           support             12            That      was        February 2016.
  13           and substantiate                                    my        opinions.                                                                           13                                         I    reviewed              an           article         from        Police            One        News,

  14                       Q.             Okay.                                                                                                                  14            titled,            the            Science of                     Training, Unpacking Implicit
  15                       A.             They are                       all contained in this                                  file        right                15            Bias      and        Policing, dated                                     November          7,    2016.

  16           here.                                                                                                                                             16                                         I    reviewed              a        document            referred            to        as     the        Law


  17                       Q.             What is                   your           hourly            rate,          Mr.     Scott?                               17            of     Implicit                   Bias        through the Yale                             Law    School            Legal
  18                       A.              I       charge                $250       an        hour.                                                              18            Scholarship                       Repository.
  19                       Q.             And when you were                                    --        when you signed your                                    19                                         I    reviewed              an           article titled,                    The        Reverse

  20           agreement                  on        April                3rd,       your            letter          of     engagement,                           20            Racism          Effect,                    Are    Cops               More Hesitant                To     Shoot            Black
  21           what        were you hired                                    to    actually               do?                                                    21            Than White                       Suspects.                  That's            dated 2016 through the
  22                       A.             I        was         asked              to provide                 my     expert opinion                   on          22            American Society of Criminology.                                                       And        that's authored
  23           the     use of                  force relative                            to        Mr.        Baker,        if it           was                  23            by Lois James,                              Steven          M.           James and Brian                 J.        Vila.
  24           acceptable within                                    police practices                               and procedures.                      And      24                                         I    reviewed the City of Houston                                           demographic
  25           also to take                         a     look at the data                                relative              to     the                       25            profile            2015.



                                                                                                                                         Page 19                                                                                                                                                       Page 21
       1       practices               of           Houston                   Police Department                            to    see     if there                     1                                     I    reviewed the Supreme                                --        United States
       2       is     perhaps                  a    disparity                      impact           as        to    how     the        agency                         2        Supreme Court                          case,           Terry v. Ohio.
       3       deals with individuals                                              of    color           or        minorities.                                        3                                 I        reviewed the                           International Association                                   of

       4                   Q.          Anything else?                                                                                                                 4        Chief         of     Police National                                     Law Enforcement                 Policy Center
       5                A.             Not               that            I    recall.                                                                                 5        article titled,                              Foot       Pursuits,                   Concepts            and Issues

       6                   Q.          And besides reviewing                                             the        documents               that you                  6        paper, February 2003.
       7       have        in front                      of        you,           what       other           activities                have you                       7                                 I        reviewed IACP, International                                           Association                      of

       8       undertaken to formulate                                              your           opinion            in this case?                                   8        Chiefs of Police Training Key, number                                                             517         titled,
       9                A.             Other than conducting                                             research based                      on     the               9        Suspects             Who           Run,          Supreme Court                       Expands            Terry Rule.
  10           information provided                                           and       writing              my     report,            nothing                   10                                     I        reviewed the International                                       Association                       of

  11           else.                                                                                                                                             11            Chiefs         of        Police Model Policy                                   titled,            Use         of    Force,

  12                    Q.            What research                                 did you conduct?                                                             12            February 2006.
  13                    A.             I           believe                   that you will                     find        that research                         13                                     And           I    believe                  I    also used the                 same        policy            but

  14           noted in the group of documents                                                           I     have here.                Shall          I        14            updated by the                             IACP      titled,                Rest.           I    don't         think           I    have

  15           read them off                            to you?                                                                                                  15            it    with         me.


  16                    Q.             Please.                                                                                                                   16                                     I        reviewed --
  17                    A.             I           reviewed the Mathematical                                              Methods        in the                  17                     Q.              If        it's          not        with you,               you are not                    sure        if     you

  18           Social Sciences, Houston,                                                 Texas           Police Department                                       18            have reviewed                          it     or not?

  19           Project           On            Officer                  Involved              Shooting,                   author by Anthony                      19                     A.              I'm           certain              I        reviewed         it.         It's         just           not

  20           L.    Colucci,                      C-0-L-U-C-C-I,                            John        Patrick            McCleary,               and          20            with     me.


  21           Yang     G,       I    can't                   pronounce the                         last.            Illl        spell        it.                21                     0.              Okay.

  22           N-G    is        the            last           name.                It's       out        of        Northwestern                                  22                     A.              I        reviewed             IACP               Training          Key Number                  387


  23           University                      and        it        was           published              June        4,     2014.                                23            titled,            Stop            and       Frisk.
  24                                  I            also reviewed                         a    document               titled,           An                        24                                     I        reviewed training                            --     IACP        Training               Key

  25           Imperial Analysis                                    of        Racial Differences                            in Police             Use            25           Number          552               titled,          Foot               Pursuits.



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                                                                                                                                     Andrew Scott
                                                                                                                       February                               05,                     2018                                                                                               22                 to              25
                                                                                                                                       Page             22                                                                                                                                                      Page          24
           1                            I    reviewed the expert report                                               of     Stephanie                                    1    Man,     published                              by Chron.com.                       Another article                              published
           2   Seguino, University of Vermont,                                                       regarding               this          case,                          2    Chron.com                titled,                       Witness          Dispute             HPD's               Account                of

           3   State of Jordan Baker v. Juventino                                                          Castro,               et    al.                                3    Fatal Shooting.
           4                            I    reviewed expert reports                                        provided by the                                           4                                     I    think that's going                                 to        do     it,        ma'am.

           5   defense,            one authored by Terry                                        A.     Bratton,                  another                                  5                 Q.          Okay.                     So    when       I        asked        you about                    research,                my


           6   expert report                       for the defense                             authored by Michael                                                        6    apologies.                         I        should have been more clear.
           7   Anthony            Dirden.                   And then                I       also reviewed                    a                                            7                             Did you personally                                    conduct any research,                                         any

           8    supplemental report,                                   I     believe             it's       by Officer                     Bratton                        8    running mathematical                                      equations,                  go        and conduct blood

           9   based upon                   my     supplemental report.                                                                                               9        spatter,                do        any type                of       independent research
  10                                    I    reviewed                  a     number            of     articles               that were                       10                investigation other than reading                                                          these            articles?
  11           provided to                   me       by     my        client.                 Would you               like           me    to     go        11                         A.              The            only other research that                                            I    did relative
  12           through them?                                                                                                                                 12                to     the        statistical                           data       provided               in        my     reports                was


  13                       Q.           Yes,          please.                                                                                                13                based upon the                                  information that                      was           provided by the
  14                       A.           Sure.               The        one         article            is        titled,              Unarmed and             14                Houston                Police Department.
  15           Dangerous                Bulletproof                        Part         One      from           the    Houston                               15                         Q.              You            didn't            go       out        to     the        scene?

  16           Chronicle                Investigation.                              The        title            of    it,        I    have                   16                         A.              No,                I    did not.
  17           already given that,                                 I       apologize.                  Another               article,              Hard      17                         Q.              Have you ever                             been out               to Houston                        to    look at
  18           To        Bulletproof , Part Three by the Houston
                      Charge                                                                                                                                 18                the     scene of                       the        crime?

  19           Chronicle Investigation titled, Investigation Raised                                                                                          19                         A.              No.

  20           Questions About Whether                                        Grand Jury                   System            in Harris                       20                         Q.              Have you spoken                                to     any of               the         witnesses                   that
  21           County            Favors            Police.                   Another            article               by the           Houston               21                were named in any of                                      the       testimony                   that you were
  22           Chronicle              titled,                A     Crash,               A     Scream and Gunfire,                                            22                provided deposition testimony,                                                      grand injury testimony?
  23           Bulletproof Part                             Two.             An     article            by the              Texas                             23                         A.              No.

  24           Obéerver.org                      titled,               The        Horror Everyday                           Police                           24                         Q.              Have you spoken                                to     anybody                in Houston                       Police
  25           Brutality                in Houston                     Goes         Unpunished.                       Another              article           25                Department                       regarding                this?


                                                                                                                                       Page             23                                                                                                                                                      Page 25
       1       by the           Texas Observer.org                                  titled,            Houston               Cops          Always                     1                 A.              No.

       2       Justified                in Shootings Always.                                        Another article                         by the                2                     Q.              Have you spoken                                to     anybody               at         the     Harris
       3       Texas Observer.org                                 titled,               Crimes         Unpunished at the                                          3            County            District                       Attorney           regarding                   their investigation?
       4       Houston            Police Department,                                    a     Lax     Discipline                     System                       4                     A.              No.

       5       Keeps Negligent                         Cops            On     The           Streets.                 Another           article                    5                     Q.              So            is        it fair           to        say then               that your
       6       by the           Texas Observer,                              Houston            Cops        Always               Justified              In        6            investigation                           or your               research to formulate                                     your

       7       Shootings Always.                                 That         might have been                          a    repeat and                  I         7            opinions               was             based            on reviewing                  of        documents                    only?

       8       apologize              if         it    was.                                                                                                       8                     A.              Yes,                   ma'am.

       9                   Q.         Is         that        it?                                                                                                  9                     Q.              And with                       regard          --     we'll            get        into this in
  10                       A.         No,         ma'am.                                                                                                     10                more     detail.                        But with               regards to newspaper articles,
  11                       Q.         Okay.                                                                                                                  11                did you verify                                  any of        the       information provided in                                             those

  12                       A.         Another                article titled,                           Area           Officers                               12                articles?
  13           Continue            To        Be       Cleared In Shootings.                                          And    it        looks like             13                         A.              No,            ma'am,            I    did not.
  14           it's        coming            from          Chrons             --        I     apologize,               CBRON.com.                            14                         Q.              Do            you know               if    any newspaper or news media

  15           Another           article titled,                              Grand Jury                   Never           Told That Off                     15                verifies               their information?
  16           Duty        Police Officer                         Was         Drunk            When        He        Shot Unarmed                            16                         A.              Well,                   ma'am,        based           on    most of                    the     articles
  17           Brothers,              from            the        Houston                Chronicle.                    Another              article           17                that     I        --     well,                   the     articles              that        I        had         relative                to

  18           from        the    Houston               Chronicle                       titled,            HPD        Cleared Officer                        18                statistical                       data,            that        data          was     retrieved                    from            the

  19           in 2012 Shooting Without Considering                                                             Eyewitness                                   19               Houston             Police Department.                                        And there                   was      no        issue of
  20           Accounts, Witnesses                                Dispute Officers                              Account               in 2012                20                dispute            of            the            legitimacy              of    that data                   that          I        had.

  21           Shooting.                    Another              article                from        Chron.com               titled,              One         21                        Q.              Okay.                     But     did you call anybody                                    who            wrote
  22           of    Two        Men         Shot       By        Off-Duty                   Officer         In        Fight Dies.                            22                those         articles                          and ask what                 their         data           source?                  You


  23           Another           article               by Chron.com                           titled,           Police Focal                     and         23                know     it's            from                   Houston        Police Department, but                                            the

  24           Officer           in Deadly                  Shooting                    was     Legally               Intoxicated.                           24               parameters of their data source                                                       was?

  25           The    next        article titled,                                 HPD:         Threatened Officer                            Kills           25                        A.              No,            ma'am.




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                                                                                                                                    Andrew Scott
                                                                                                                         February                                05,                    2018                                                                           26                 to           29
                                                                                                                                       Page                26                                                                                                                              Page              28
           1                Q.          So        you don't                   know            if       they       had reviewed --                      if                    1   article            though.
           2   they         got    for hypothetical purposes                                                     100    pieces of                                        2                    Q.         Not         every        article.           So      some      articles                 are

           3   documents,                   100        documents                      of various                  reports           from     the                         3       bias?
           4   Houston            Police Department, and they                                                     only considered two                                    4                               MR.         LOEVY-REYES:                Objection,                foundation.
           5   of     those; would you know that?                                                                                                                        5                               Go     ahead.

           6                A.          Well, based                          on       the         articles,             they        didn't        say                        6                           THE         WITNESS:            They could be.                        I'm       not     saying
           7   they         considered only                             two of                them.              They considered,                      I                 7                    they        are.            I'm     not    making        that         judgment.
           8   think, hundreds.                                                                                                                                          8       BY     MS.        CALLAN:

           9                            MS.        CALLAN:                    Objection,                     nonresponsive.                                                  9                Q.         But         we    can agree           that you didn't                       contact
   10                                   THE        WITNESS:                       I     believe              I    was.                                          10               anybody            to        verify the               veracity        of     the      information in
   11          BY     MS.        CALLAN:                                                                                                                        11               the     reports?
   12                       Q.          Sir,           when         I        make        an           objection,              you don't           get           12                            A.         That's            correct.            That's         what         I    have       testified
   13          to     respond back.                                                                                                                             13               to.

   14                       A.          Okay.                                                                                                                   14                            Q.         Well,            let's        discuss because                 you had several

   15                       Q.          Please, the question                                           was,       did you contact                               15               reports            that are newspaper articles                                     that referenced                         the

  16           anybody            who         wrote these                         articles                  to    ask them what               the               16               grand jury in Houston.
  17           parameters of their database was?                                                                                                                17                                       Are you                familiar with              Texas       law?

  18                        A.          No,        I    didn't                have to because                           based         on    the                 18                            A.         No,     not            completely.            Absolutely                not.
  19           article            it        appeared that                             they            had    a    sufficient               amount               19                            Q.         Do     you understand the grand jury                                        system            in
  20           of     data        and they                  provided                    that number.                                                            20               Texas?

  21                        Q.          But you are making                                        a    presumption that you                                     21                            A.          I    would only imagine                      it's         very        similar           to

  22           didn't verify,                          correct?                                                                                                 22               that of the state of Florida based                                               on   what          I    have read.

  23                        A.          I'm        not       presuming.                               I'm    telling           you that           I             23                            Q.         Tell         me    what        the    state         of     Florida              does,        and     I


  24           did not verify                          from        the            source.                                                                       24               will         tell       you what                the    state of Texas does?
  25                        Q.          In     the          newspaper articles,                                    did they have                  a             25                        A.             Sure.             Here        Florida       convenes           civilians                 to        act



                                                                                                                                       Page 27                                                                                                                                             Page             29
       1       footnote            indicating                   how many documents                                      they        reviewed                             1       as     jurors           in grand jury.
       2       and     how        many documents                              they           did not              review in the data                                 2                    Q.             Who     convenes               them?

       3       source?                                                                                                                                               3                    A.             The         state        attorney.            The        state attorney                      then
       4                A.              I     donit          recall.                                                                                                 4           presents            its        case.             Relative        to       the      facts        of       the     case,

       5                Q.             That            would            be        something important,                                correct?                       5           they     bring               individuals               to    testify.             Normally,               it     is

       6                A.             It would                be           helpful.                                                                                 6           one-sided,                   normally.                And when        I     say one-sided,                     they

       7                Q.             Because               they             might            be       skewed one way versus                                        7           will present                   the        case.         If    there's eyewitnesses,                              they

       8       another,            correct?                                                                                                                          8           will     have the               eyewitnesses also present their
       9                A.             Could           be.                                                                                                           9           testimony.                    And then they                  present         the      case          to    the        grand
  10                    Q.             So      usually                  a     newspaper                     article           is    bias in                     10               jury     for the grand jury to make their decision                                                            whether
  11           one --            towards one person or one thing,                                                        correct?                               11               there is            a        true        bill     or not.

  12                    A.             I      don't         know about                         that.                                                            12                        Q.             So     the        determination               of     what      is       presented to
  13                    Q.             Okay.             You            don't            --           did these          newspaper                              13               a    grand jury                is        determined by the Florida state's
  14           articles            that you relied on, did they                                                        give        both sides                   14               attorney            general?
  15           of     the        story?                                                                                                                         15                        A.             Correct.
  16                    A.             Based           on      what               the       information                  was        provided in                 16                        Q.             And the            state's attorney                      general is separate
  17           the     reports               versus            what               was        --       people that were                                          17               and apart               from         any       police department, correct?
  18           interviewed,                    they         gave that                       balance.                   Did     they                             18                        A.             Are you            referring           to     the        state attorney
  19           interview               anybody              from             the        police department,                            yes,        they          19               general or the                       state        attorney's office?
  20           did.                                                                                                                                             20                        Q.             Both.             Is    the     state       attorney          general the
  21                    Q.             Did        they         state                  that            in the articles?                                          21               local police department?
  22                    A.             Yes.                                                                                                                     22                        A.             No.


  23                    Q.             Did        they        give                the       police department side                                of            23                        Q.             Is     the        state        attorney           general's             office,              the

  24           the     story           in the articles?                                                                                                         24               attorneys               themselves                part of the local                   police
  25                    A.             Based           on     my            recollection,                        yes,        not     every                      25               department?



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                                                                                                                                                         Page           58                                                                                                                                                      Page               60
           1   Florida publications?                                                                                                                                                  1    however,             I        have had cases                                that            involved                   Texas

           2              A.              Yes,                ma'am.                                                                                                                  2    jurisdictions.
           3               Q.             And even the                                  IACP           one       was        based             on         Florida                      3                 Q.          Which                  Texas            jurisdiction?
           4   law?                                                                                                                                                               4                     A.          Don't recall.
           5              A.              You                are     referring                         to    the         crime               prevention?                              5                 Q.          When               was         it       then?

           6               Q.             Yes.                 Your            personal knowledge of Florida, did                                                                     6                 A.              Probably about                                2012.

           7   it     include                  stats                from other agencies in other states?                                                                              7                 Q.          And you don't                                    recall            what                entity        was


           8              A.              There                was        no            --       I'm        sorry to interrupt.                                                   8        involved?
       9                                  There                were        no            statistic                     based            on         what      I                    9                     A.          No,            offhand                  I        don't.                 It         did involve                  a    police
  10           recall.                                                                                                                                                       10            pursuit though.
  11                       Q.             Okay.                                                                                                                              11                                     MS.            CALIAN:                       I    would ask,                           counsel,            that       we


  12                      A.              It            was         describing                         our       crime         prevention                        model,      12                         leave            a     line in                  the           deposition                           so    that     Mr.           Scott
  13           and     it       did not deal specifically                                                          with        a        state.               It              13                         can include                          the        Texas               jurisdiction                          that         he       has

  14           could           be        quite                applicable                         to     anybody               in the nation                        if        14                         just referenced.
  15           they       wanted                       to use            it.                                                                                                 15                                     MR.            LOEVY-REYES:                              I'm            not            agreeable to that.
  16                      Q.              Fair enough.                                   But your                  knowledge is based                               on       16                         You     are            certainly                        welcome                to            examine            him     on       the

  17           Florida,                  your            Florida background, right?                                                                                          17                         context                of          the      case,              but        I         don't               see the         relevance
  18                      A.              Not necessarily.                                                                                                                   18                         of     it, first                      of        all.                Yeah,                I     just       don't         see       the

  19                      Q.              Florida law enforcement?                                                                                                           19                         relevance of                          it.
  20                      A.              I'm            a     Florida                   law enforcement                                officer             who     has      20            BY     MS.         CALLAN:

  21           dealt with                      a        number            of            agencies around the country                                                in        21                         Q.          Mr.            Scott,               when you were                                  involved           in this
  22           various              states.                                                                                                                                  22            Texas             review,               was        it        for           plaintiff                       or defendant?

  23                      Q.              This is your                                  first           Texas            case           though,                              23                         A.          Plaintiff.
  24           correct?                                                                                                                                                      24                         Q.          And you believe                                    it        was         in 2012 involving                                a




  25                      A.              I        don't             recall.                                                                                                 25            pursuit?


                                                                                                                                                         Page           59                                                                                                                                                      Page              61
       1                  Q.              So            if     we     go           --                                                                                             1                 A.              It's               a    guess,                   yes.

                                                                     think                                                                                                                                          You are not                             sure            --    did you provide                                       report?
       2                  A.              I            don't                             so.                                                                                      2                     Q.                                                                                                                      a




       3                  Q.              If            we     go        through your                             list        of        cases            that you                 3                     A.          I        may have.

       4       have       on        Exhibit                    4.         It        was           on        your        CV.                                                   4                         Q.          But you are                             saying               you did not                        go    to        a




                                                                     looking for                                   testimony                       list,         malam?                    deposition?
       5                  A.              Are you                                                           my                                                                    5




       6                  Q.              Yes,                sir.                                                                                                                6                 A.              No,            I       did not.                    The        case                settled prior                      to       any

       7                  A.              I        don't             know what                        you did with                           it.                                  7        other testimony.
       8                  Q.              It            was         attached to your                                report,                   your                                8                     Q.          Do        you remember                             the        attorney                       who hired               you?

       9       October              12        report,                 and           it           should           be        attached to                                           9                 A.              No,            not        offhand.
  10           Exhibit              4.                                                                                                                                       10                     Q.              Do        you remember                             the        case?

  11                                      MR.            LOEVY-REYES:                                 Was        the        curriculum                     vitae             11                     A.              No.                Well,            when you say the                                        case,     the           case

  12                      Number                   1?                                                                                                                        12            name     or         the           circumstances?
  13                                      MS.            CALIAN:                    No.               Number            1    was             the     notice         of       13                     Q.              The            case name.

  14                      deposition.                               Number                   2    is        the     October                   12     report.                 14                     A.              No.

  15                      Number                   3     is        the     supplemental report.                                                                              15                     Q.              Do        you remember                             if it            was                in federal               or    state

  16                                                                       (Defendant's                           Exhibit                    No.     3     was               16            court?
  17                                                                     marked                   for        identification.)                                                17                     A.              It        was           federal.
  18                                     THE             WITNESS:                        Here is                 Number            4.                                        18                     Q.              And            was        it        a       pursuit                --            was        there     a     death?

  19                                     MR.             LOEVY-REYES:                                 There you go.                                                          19                     A.              Yes.

  20                                     TBE             WITNESS:                        So      your            question,                    again, ma'am?                  20                     Q.              So        what           were you asked                                  to            review?
  21           BY   MS.         CALIAN:                                                                                                                                      21                     A.              I        was           asked            to        review if                       the       pursuit fell
  22                      Q.             The             testimony                       list          on        Exhibit                4,     does         it     say       22            within            generally accepted police practices                                                                         and

  23           anywhere              in there any Texas cases?                                                                                                               23           procedures.
  24                      A.             No,             because               I        have not                  testified                    or given                      24                     Q.              In Texas                     law or                generally                           across        the        nation?
  25           deposition in                             a    case         involving                         a    Texas            jurisdiction,                             25                     A.              Both.




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                                                                                                                                             Page                      62                                                                                                                                                        Page            64
           1                Q.          When                you            do        a    report            in       a    specific                                                   1    conclusion                  based              on     your                 understanding                           of        your

           2   jurisdiction,                           though,                       isn't it               necessary to know the                                                    2    interpretation                            of    that              case             law?

           3   specific state                                   law?                                                                                                                 3                A.          Well,                 not        at       all.                  I'm    not        providing                         any

           4                A.          Sure.                                                                                                                                        4    legal opinion.                                What        I       am        doing though is using                                            my


           5                Q.          Did you learn                                     the        specific state law in                                   2012                    5    expertise,                   training                    and knowledge predicated                                                  on        those

           6   for Texas?                                                                                                                                                            6    particular                   cases             that           I        have used                   in     my           career and
           7                A.           I
                                                     donit                recall,              ma'am.                I    have probably                      500                     7    making            an    opinion                 as        to           the         delivery               of           police
           8   cases             that        I        have been involved                                        with.                                                                8    practices               and procedures                                     relative                to         the           court cases.
           9                Q.          But            is            it     your              practice               to        learn state                law                        9    I'm     not        giving                 any        legal opinion.
  10           for the given case in                                              a       specific                  jurisdiction?                                           10                        Q.          Your              opinions                     in our Exhibit                              2        and    Exhibit             3




  11                        A.          Sometimes,                              yes.                                                                                        11            are void               of        any reference                              to          Texas           law?

  12                        Q.          Sometimes.                                What              do    you mean sometimes?                                               12                        A.          That's                 correct.
  13                        A.          Sometimes.                                Sometimes                     I    do,        sometimes            I                      13                        Q.          But           it's           important                          to    know Texas                         law because

  14           don't.                                                                                                                                                       14            you are            referencing                           federal                   cases           that            interpret
  15                        Q.          Why            wouldn't                          you learn                  the        specific         state                       15            Tennessee               v.        Garner              was              interpreting                           a    Tennessee

  16           law?                                                                                                                                                         16            statute,               not        a       Texas           statute.                           Were        you aware                     of     that?
  17                        A.           It depends                             on        the        case,           ma'am.                                                 17                                    MR.           LOEW-REYES:                                  Objection,                      foundation,
  18                        Q.  this death case in 2012 and this death
                                        And in                                                                                                                              18                        calls for                     a    legal conclusion.
  19           case herein that welre here today with the Baker case,                                                                                                       19                                    You could                     go          ahead.

  20           did you learn Texas law?                                                                                                                                     20                                    THE           WITNESS:                         I    am,          ma'am.                   But        the       United
  21                        A.          Did            I         learn            it,          ma'am,               or did        I    --   I'm          not                21                        States Supreme Court                                            guides all behavior                                        as     it
  22           quite             sure        when you say did                                        I     learn          it.                                               22                        relates               to          whatever the case might                                                  be.         So        if    the

  23                        Q.          Did you review                                        it?                                                                           23                        state of Texas is going to violate Tennessee                                                                                          v.

  24                        A.          You            know,                I     think              --     I       don't        recall if               I        read      24                        Garner,               I       suspect                 that there is going to                                               be     a




  25           the      statute                  on         use of                force in the state of Texas.                                                     I        25                        number               of       lawsuits                     and/or other issues so.


                                                                                                                                            Page                       63                                                                                                                                                        Page            65
       1       don't             recall if                       I    did or not.                                                                                                1                                MS.           CALIAN:                     Objection,                       nonresponsive                            and

       2                    Q.          That                would               be        something important,                              wouldn't                             2                    narrative.
       3       you agree?                                                                                                                                                        3        BY    MS.         CALLAN:

       4                    A.          Sure.                                                                                                                                    4                    Q.          Mr.           Scott,              I       wasn't asking you if Texas law
       5                    Q.          And that                          would               go     to your              credibility                as       an                 5        violated               Tennessee                    v.        Garner.                        But you did not                            consider
       6       expert is for you to reference                                                               state              law?                                              6        Texas            law when you were                                     looking                at       Tennessee                   v.       Garner,
       7                                MR.            LOEW-REYES:                                   Objection,                  foundation,                                     7        did you?
       8                    calls for                       a        legal conclusion.                                                                                           8                    A.          I     don't             recall.
       9                                You could                           go           ahead.                                                                                  9                    Q.          You           didn't look                          at           Chapter           9        of       the        Texas

  10                                    TBE            WITNESS:                           I'm        not        quite           sure    if that's                           10            Penal            Code,        did you?
  11                        going to question                                            my    credibility,                      ma'am.          I       just               11                        A.          No,           I       did not.
  12                        don't            recall,                       I've           had        so    many documents                       to                          12                        Q.          Did you look at                                    the           Texas          Code            of        Criminal
  13                        review.                                                                                                                                         13            Procedures                  as        to       the        use of                   force?

  14           BY     MS.         CALTAN:                                                                                                                                   14                        A.          That              I    recall.                     I       think           I    did,            but        I    just
  15                        Q.          In your                       opinion                  that you gave in Exhibit                                       2             15            don't            know when.

  16           and     Exhibit                   3
                                                       --            well,               more        Exhibit              2,     you reference                              16                        Q.         Okay.                   Do    you know the                              chapter?
  17           law,         right?                   You             reference                     Terry v. Ohio,                      Tennessee                  v.        17                        A.         No,            no,       I    don't.
  18           Garner, Graham v.                                      Connor;                  yes?                                                                         18                                   MS.            CALIAN:                     Can          I    take           a    quick break?
  19                        A.          Yes,               those                are           the        United States Supreme                                              19                                   THE            VIDEOGRAPHER:                                 Time           on     the           monitor               is

  20           Court             cases.                                                                                                                                     20                        11:20.                We're             going off                      video record.
  21                        Q.          Are you                       a    lawyer?                                                                                          21                                    (A       break              was           had.)
  22                    A.              No,           ma'am.                                                                                                                22                                   THE            VIDEOGRAPHER:                                We're               back            on    video
  23                        Q.          Have you been to                                           law     school?                                                          23                        record.                   The       time              is       11:31              a.m.

  24                    A.              No,           ma'am.                                                                                                                24           BY     MS.         CALIAN:

  25                        Q.          So           you are                    reading these                            and    giving      a        legal                  25                        Q.         Mr.            Scott,              Exhibit                   2        and       Exhibit               3     have been




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                                                                                                                                     Page            74                                                                                                                                         Page          76
           1             Q.          So        you were                    running           a    consulting                firm during                            1    what     you are            saying.
           2   the     last         couple of years                                  of being chief                  of police?                                    2              Q.          The        opposing counsel says that you are not
           3             A.          Yes,            ma'am.                                                                                                        3    qualified             to    be        an     expert.
           4             Q.          And that                    ATS            does review              1983 lawsuits?                                            4             A.           Oh.

           5             A.              It does now, but                               specifically                 when        I       was                       5             Q.           What        we       call in legal                             terms,            and counsel here

           6   chief          of    police,                    the     only consulting                            services           I                             6    will correct                me        if     I'm        wrong,                 is      it    a        Daubert
           7   provided             was        on         accreditation.                                                                                           7    challenge.
           8             Q.          So        do         you        recall            when you             started             reviewing                          8             A.           Yes,        I    understand.                             No,      I    wasn't aware of
           9   1983 lawsuits?                                                                                                                                      9    that.          That's        news to               me.


  10                     A.          Yes,            ma'am,                in 2006.                                                                        10                    Q.           So    you were unaware                                   that you were challenged
  11                     Q.          Right after you retired.                                               Well,          close to                        11           on     the     basis that you make impermissible                                                             credibility
  12           retirement?                                                                                                                                 12           determinations                    and        legal conclusions?
  13                     A.          No,         ma'am.                     I    apologize.                 I'm      not        trying          to        13                     A.       No,        ma'am.

  14           mince          your        words.                 But,            no,    not       right after.                       Probably             14                     Q.           Do    you know what                             TCOLE            stands               for?

  15           in November of 2006.                                     Retired              out       of         law enforcement in                      15                     A.           I'm        sorry.
  16           February 2006.                                                                                                                             16                     Q.       T-C-0-L-E?
  17                     Q.          Okay,                okay.                 So     since about November 2006 to                                       17                     A.       No.

  18           today          approximately                          how many 1983 lawsuits                                 have you                      18                     Q.           It's        a    Texas            Commission                      On       Law         Enforcement.
  19           reviewed?                                                                                                                                  19                     A.       Okay.

  20                    A.           Approximately                               450    to       475.                                                     20                     Q.       Which               is   the          state              licensing entity for
  21                    Q.           And         I        believe                you had          testified earlier                            that       21            Texas.

  22           you had not                 provided                   deposition                  or     trial           testimony              in        22                     A.       Understood.
  23           all     of      those,            correct?                                                                                                 23                     Q.       Since you didn't                                    --       are you aware of                          TCOLE        or

  24                    A.           That's                correct.                                                                                       24            you just         had never                 heard             it called                      TCOLE?


  25                    Q.           And         as        far         as        you can          recall sitting                         here             25                     A.           I    wasn't          aware of                    the           acronym,                no.



                                                                                                                                     Page            75                                                                                                                                         Page       77
       1       today,          you have only had one other                                               Texas            1983       suit,                     1                 Q.           It used to               be           called                  TCOLE        notes.             Does       that
       2       lawsuit             that you reviewed?                                                                                                          2        ring     a     bell?
       3                A.           Based                on     recollection,                     that's correct.                                             3                 A.       No.

       4                Q.           How         do        you --                what     is      your        percentage of                                    4                 Q.       They            just        changed                  it           two years                ago    to    TCOLE.

       5       review for                plaintiff                    on         1983 cases?                                                                   5                          Do        you know what                             the           annual requirements                          are

       6                A.           About                75     to     80           percent.                                                                  6        in Texas to maintain your                                     law enforcement                                 license?
       7                Q.           Generally                       are         you deposed                and provide                   trial                7                 A.       I        believe            there's                  a       minimum mandatory                          of     four
       8       testimony             in these cases?                                                                                                           8        hours.          I'm        not        sure       if         it's           a    year         or        if     it's       every

       9                A.           No.                                                                                                                       9        two years         or        four years.                           I    apologize                      for that.
  10                    Q.           Have you ever                               given testimony                     in Texas                             10                     Q.       Do        you know what                             TCOLE           requires                to became

  11           regarding             a     1983 case?                                                                                                     11            certified         in the state                        of      Texas.

  12                    A.           No.                                                                                                                  12                     A.       Offhand,                 no,          I    do        not           know the               number of

  13                    Q.           Have you ever                               been challenged                     as    an        expert in            13            hours         that's required                      of        that.
  14           any 1983 case?                                                                                                                             14                     Q.       Do        you know               how        TCOLE                  breaks down police
  15                    A.           Not         to        my        recollection.                                                                        15            officer certification?
  16                    Q.           What about                       the            Lisa Thompson vs. Officer                                            16                     A.       No.

  17           Davenport, Miami-Dade County                                              case.              Do     you     recall that?                   17                     Q.       You don't                  know what                         levels            or hierarchy                  that
  18                    A.           The       name              sounds               familiar.               I    don't         know what                18            they     have?

  19           had transpired                        on        that.                                                                                      19                    A.        No,        ma'am.

  20                    Q.           So     if        I        told             you that         the        court documents                               20                    Q.        We've               already               testified                  that all of your
  21           show you were challenged,                                              that would             be     the     first              you        21            opinions         today           are       in Exhibits                          2     and        3,     correct?
  22           knew about                it?                                                                                                              22                    A.        Yes,           ma'am.

  23                    A.           Yes,            ma'am.                                                                                               23                    Q.        Do        you plan               on        appearing at                             trial        to    testify
  24                    Q.           Well,            there are court documents.                                                                          24            in this case?
  25                    A.           When            you say challenged,                                I'm        not     quite           sure           25                    A.        Yes,           malam.




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           1                    Q.         You     provided              a     list            of your                  cases          attached to                         1    what     you have              read        in the documents                           provided?
       2       your             CV.        We     have discussed                             that          briefly;              yes?                                      2             A.        No,         I    do     not.
                                                                                                                                                                                                              you know any of                         the       --        any of        the     chain of
           3                    A.         Yes,         ma'am.                                                                                                             3             Q.        Do


       4                        Q.         Have you ever                     provided                      an     opinion              based    on                     4        command at              the        police department                            today,            the        chief        of

           5       that         list       of     cases           that  officer involved shooting
                                                                              an                                                                                           5    police, his assistants,                                  any of            them?

           6   was,             some       people            say justified, I say within policy.                                                                           6             A.        No.

           7                               But         I'm    letting you know the two mean the                                                                            7             Q.        Have you ever                         met them at                      IACP?

           8       same         thing.                                                                                                                                     8             A.        Not         to    my       recollection,                         but     it     would not               be


           9                    A.         Yes.          Your          question                is          clear.                                                          9    surprising if                  I    did.
  10                                       I     don't        recall.                                                                                             10                     Q.        Because               you are               a     life       member,            correct?
  11                            Q.         Does         that       mean --                let          me        ask     it this             way.        If       11                     A.        Yes,            ma'am.

  12           you had provided                              an    opinion                stating that                       a        shooting,          an       12                     Q.        As         well       as        I    am,        so.

  13               officer             involved              shooting               was        within                  policy, it would                           13                               And         I    will           agree with you or you can agree

  14               stand             out   in your            mind       since the majority of your                                             case              14            with     me    IACP           has    multiple                  seminars              that you could                       go


  15           work             is     plaintiff              based?                                                                                              15            to,    so     you could              go       with somebody from your                                    own         agency

  16                            A.         No,         that's          not     what            I'm              saying.               It's    just                16            and never          see them                until              it's       time        to     go     home?

  17               that         I     don't       recall.                                                                                                         17                     A.        Correct.
  18                            Q.         It's         possible             though?                                                                              18                     Q.        So         this       happened                  in 2014.                Did you know Chief

  19                                       MR.     LOEW-REYES:                            Objection,                     foundation,                              19            McClelland,              Charles McClelland?
  20                            calls for speculation.                                                                                                            20                     A.        The         name        was          familiar            to       me,     but        no,     I     don't
  21                                       Go     ahead.                                                                                                          21            believe        I   ever            met him.

  22                                       THE     WITNESS:                   It's            possible.                                                           22                     Q.        Familiar in                         what        sense?

  23           BY         MS.         CALLAN:                                                                                                                     23                     A.        His         name had                 come        up     in circles               that        I     knew

  24                            Q.         Have you ever                     been to                   Houston,              Texas?            I'm                24            in IACP, that's                     all,         that          he    was        the        chief        of     police           of

  25           sure             there's           other Houstons.                                                                                                 25            Houston        Police              Department.


                                                                                                                                         Page            79                                                                                                                                   Page              81
       1                        A.         I     believe           I    have,             but          I        remained in the                                        1                 Q.        But you never                         met him?

       2       airport.                                                                                                                                                2                 A.        No,         I    have not.

       3                        Q.         Didn't venture                      out            into              the    community?                                      3                 Q.        And         I    believe              we        touched           on     this briefly,                      but

       4                        A.         The     time           between               flights                  wouldn't              allow    me.                    4        you are not              familiar with                         the       Texas        Code         of    Criminal
       5                        Q.         So     is     it fair             to         say that                  you are not                                          5        Procedure?
       6       familiar with                       the        community                   as       a       whole, personal                                    |        6                 A.        Not         completely,                     no,       I'm     not.
       7       knowledge of the community                                               as     a       whole?                                                          7                 Q.        And you are not                             familiar with                     the     Texas            Penal

       8                        A.         No.                                                                                                                         8        Code?

       9                        Q.         No,     you have              no        personal knowledge?                                                                 9                 A.        No.

  10                        A.             That         is    correct.                                                                                            10                     Q.        How         about          the        Texas           local        government                code?

  11                            Q.         And     I     think,          I     believe                     you've         already                                 11                     A.        No,        ma'am.

  12           testified                   that you have never                                 been to                 the       location           of            12                     Q.        How         about          the        Texas Occupations                          Code?
                                                                                                                                                                                                              malam.
  13           this shooting,                           correct?                                                                                                  13                     A.        No,

  14                        A.             That's            correct.                                                                                             14                     Q.        So     would you be surprised                                      if all            of     those
  15                        Q.          will tell you that the location, just
                                           And     I                                                                                                              15            govern        various              aspects              of     the       Houston            Police
  16           for         clarification of the record, was 5700 West Little                                                                                      16            Department?

  17           York         Road in Houston.                                                                                                                      17                    A.         I'm        not        surprised                  at    all        because            it's
  18                                       Do    you plan to                   go        out           there before you                        come               18            similarly          applicable                  here            in the state of Florida.
  19           to         trial?                                                                                                                                  19                     Q.        Are you               familiar with                      the       Houston            Code        of

  20                        A.             That's            going to              be        solely               up    to       my    client.                    20            Ordinances?
  21                        Q.             And you have not                          discussed that with him?                                                     21                   A.          No.

  22                        A.             At    this juncture,                          no.                                                                      22                    Q.         How        about           the        Houston            Charter,              city         charter?
  23                        Q.             And     I     believe             you've                already              testified,              so       if       23                   A.          No,        ma'am,           I       haven't            reviewed those.
  24           I     am     repetitive                   forgive             me.             But           do     you have personal                               24                   Q.          You        would agree with                           me,         though, that                   the

  25           knowledge of the Houston                                        Police Department                                  other than                      25            operation          of     a        police department                           is     governed by



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           1   of    force,         Chapter                9        of    the           penal code?                                                            1    when        a    weapon is                      involved?
           2               A.       I     don't            recall specifically                                    if that's           the                  2                    A.                Yes.

           3   area        that     I     looked at.                                                                                                           3                Q.                And that                the    weapon could                  be       anything based
           4               Q.       What about                       penal code 9.32,                             when deadly force                        4        on     the       manner                      and means of                 its     use?

           5   can       be     used?                                                                                                                          5                A.                Particularly                   if        it's       going to              inflict         bodily
           6               A.       Most          likely that's                           what          I       read.                                          6    harm or death.

           7               Q.       What about                       the           Code       of     Criminal Procedure                                        7                Q.                And anything                   can          inflict         bodily           harm,

           8   regarding            the       use of                 force?                                                                                    8    correct?
           9               A.       I     don't            recall.                                                                                             9                A.                    I    don't         understand that,                     ma'am.

   10                      Q.       What about                       Code           of     Criminal Procedure                                         10                        Q.                Anything                in the manner and means of its use
   11          regarding            when          an       officer                  can make                a    warrantless               arrest     11            could            inflect bodily                         harm?

   12          and use force?                                                                                                                         12                                          MR.            LOEVY-REYES:                  Objection,               foundation.
   13                      A.       That,             I    don't               recall.                                                                13                                          But you could                      go       ahead and answer.

   14                      Q.       You       would agree with                                  me      that these              are        all        14                                          THE            WITNESS:             I'm      still         not       understanding
   15          parameters that                        a    Texas           police officer would                                 have to               15                        what              you are                trying        to      get     at.         I    apologize.
   16          comply           with?                                                                                                                 16            BY    MS.        CALLAN:

   17                               MR.       LOEVY-REYES:                               Objection,                    foundation,                    17                        Q.                    If    I     pick     up    a     pen and          come           at    you,       and     if        I


   18                      calls for              a       legal conclusion.                                                                           18            hit     you              just right in                      the       neck,        it     could cause bodily
   19                               Go     ahead.                                                                                                     19            harm or even death,                                    correct?
   20                               THE       WITNESS:                         I    would imagine that they                                           20                                          MR.            LOEVY-REYES:                  Objection,               relevance.
   21                      would.                                                                                                                     21                                          Go        ahead.

   22          BY    MS.        CALLAN:                                                                                                               22                                          THE            WITNESS:            Sure.

   23                      Q.       So     did you read                             Article             6.05       of     the     Texas               23            BY    MS.        CALLAN:

   24          Code        of    Criminal Procedure,                                     on     duties            of     police                       24                        Q.                So        anything            could          be     used     as       a    weapon based

   25          officers           when they                    are threatened?                                                                        25            on    manner                  and means of                   its          use?



                                                                                                                                Page 87                                                                                                                                                 Page          89
       1                   A.       I    may have,                       but        I    don't          specifically             recall.                   1                                      MR.            LOEVY-REYES:                  Objection,               foundation.
       2                   Q.      But        again, your                           opinion             is      void of any                                2                                      Go        ahead.

       3       reference           to      Texas               law?                                                                                        3                                      THE            WITNESS:            For       sake of         this deposition,
       4                   A.      True.                                                                                                                   4                    that global                         ubiquitous                 "anything,"                  yes.

       5                   Q.      Did you review the                                     Texas penal statute                          on              5            BY    MS.        CALLAN:

       6       what        an    assault              was?                                                                                                 6                    Q.                For            instance,           are you aware of                        Texas       case        law

       7                   A.      No,        I       did not.                                                                                             7        that        says              a        peanut butter and                        jelly      sandwich could                    be


       8                   Q.      Did you know that                                     assaulting                a     police       officer              8        used        as       a        weapon            if     someone is                 shoving           it    down your

       9       is    a     felony        in the state of Texas?                                                                                            9        thought?
   10                      A.       I    would imagine                              it    is.                                                         10                                          MR.            LOEW-REYES:                   Objection,               relevance.
  11                       Q.      A     weapon is                       involved,                 it       becomes        an                         11                                          THE           WITNESS:             I'm       not     aware of              that.
  12           aggravated assault?                                                                                                                    12            BY    MS.        CALLAN:

  13                      A.       Is      that            a        question?                                                                         13                        Q.                It goes to manner and means, you would agree
  14                      Q.       Yes.                                                                                                               14            with that; yes?
  15                      A.       It's           a       statement.                      Are you asking?                                             15                                      MR.               LOEW-REYES:                    Same     objection.
  16                      Q.       I     asked            you,            do       you understand                        that if       a              16                                      THE               WITNESS:             Sure.

  17           weapon is           involved                    during               the       assault,             it     becomes           an        17            BY    MS.        CALLAN:

  18           aggravated assault?                                                                                                                    18                        Q.            So            in your         analysis                when you were                  a    chief        of

  19                               MR.        LOEW-REYES:                                Objection,                relevance.                         19           police,               you looked at manner                                   and means of                  the       object;

  20                               THE        WITNESS:                     I       apologize.                    Yes.                                 20           yes?

  21           BY   MS.         CALLAN:                                                                                                               21                     A.                   I        would imagine                  I   did.
  22                      Q.       As     a       law enforcement          officer, you know                                          the             22                        Q.            Certainly would you in today's                                                 world,         a   hand,

  23           difference               between                -- let me ask it this way.                                                             23            a    fist        could                  be     used in the                manner          and means                it's     used

  24                               As     a       law          enforcement officer, do you                                                            24           because               we               have     some     MMA       fighters,               if it's          used         just
  25           understand that usually                                     an           offense             becomes aggravated                        25            right           or       if            you     hit    the        person just right,                        manner           and




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                                                                                                                                                                                                                                                                                                                           I
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           1   dismissed by the judge.                                                                                                                                  1            A.              Yes.                As      chief           of     police           I    was           sanctioned by
           2                Q.          Any other                        lawsuits?                                                                                      2   the     ethics               commission.                            Well,           actually            it       was    after            my


           3                A.              Not to             my        knowledge.                                                                                     3   tenure         as        chief               of      police.
           4                Q.          Any car                 accident                      lawsuits?                                                                 4             Q.             But            for conduct                       during your                  tenure          as     chief
           5                A.          No.                                                                                                                             5   of     police?
           6                Q.          Any divorces?                                                                                                                   6            A.              Yes.

           7                A.              Yep.          Yes.                Excuse            me.                                                                     7             Q.         And                it     was        the        ethics?
           8                Q.          When             was         your           divorce?                                                                            8            A.              Florida State Ethics                                        Commission.

           9                A.              I'm     not         going to answer that question.                                                     You                  9             Q.             Is        that your                   licensing,               they            are part              of        the

   10          could have                    it certified.                                                                                                     10           Florida licensing?
   11                                   MR.         LOEVY-REYES:                               I'm        going to make                  a       late          11                    A.          No.

   12                       objection                    on     relevance.                                                                                     12                     Q.         What                was         the       --     what were you sanctioned                                          for?

   13          BY     MS.            CALLAN:                                                                                                                   13                    A.              I    was            sanctioned                    for allowing                     a    news reporter

   14                       Q.              But      it        was        a        lawsuit?                                                                    14           to     get     an        interview                      of     a     contractor                  within           my    community

   15                       A.              Sorry?                                                                                                             15           that      scammed                  an        elderly couple.                           The        news reporter                     made

   16                       Q.              The     divorce                   was        a     lawsuit             that          was    filed?                 16           it     very     clear               that             the       individual that                          she wanted                 to

   17                       A.              I'm     not         aware               that's            a    lawsuit.                                            17           get     an     interview                       from          was      running red lights,                               running
   18                       Q.          But         a     petition                      was     filed?                                                         18           stop      signs,              driving erratically.                                      And she wanted                         to

   19                       A.          Yes.                                                                                                                   19           have     us     post               an        officer                at his           intersection                     down the

   20                       Q.          Do         you         still               maintain               your      police officer                             20           block because                       he         was        going to run the stop                                   sign.            And

   21          certification?                                                                                                                                  21           then      she had asked                              if      she could possibly                                 get    an


   22                   A.              No.                                                                                                                    22           interview                if        he        was        stopped and issued                              a       citation.
   23                       Q.          Why         don't                you        maintain it?                                                               23                                That                occurred.                    It happened exactly                               the        way

   24                   A.              No         need to.                        No    desire            to.                                                 24           she said            it.             And when                   my     officer           was            finished writing
   25                       Q.          Florida allows retirement                                                  to   continue with                          25           the     summons,                   he        told         the        driver,           you are                  free to leave.


                                                                                                                                        Page             95                                                                                                                                         Page              97
       1       your         certification                            after              you     retire?                                                             1       And because                   the            news reporter                      was     coming                  with the
       2                A.              You can,                    yes.                                                                                            2       cameraman.                    And            ultimately                   he    stayed,                and the          issue of
       3                Q.              When            you were                    a    police officer,                          were you ever                     3       the     shoddy               construction                          work        was     resolved.                      But     the

       4       disciplined                    by your                    agency?                                                                                    4       union took exception                                      to        that       and     felt            that       I    misused            my


       5                A.              Yes,             for         a    traffic               crash when                   I    was    a       rookie             5       position            as        chief                of     police.
       6       police officer in North                                              Miami.                                                                          6                Q.          When               you were                    sanctioned,                  how        did that           impact

       7                Q.              This shooting in 1988,                                             there        was        a    separate                    7       your     law enforcement                                  license,              if     any?

       8       investigation?                                                                                                                                       8                A.          It        didn't.
       9                A.              Yes.                                                                                                                        9                Q.          It        just               was        placed            on     your        record?
  10                    Q.              Administrative                                  and    criminal?                                                       10                    A.          Not            even.                 Well,           when you say record,                              no.

  11                    A.              Yes.                                                                                                                   11           Was     it     placed               on        my        law enforcement career               record, no,
  12                    Q.              You         weren't                   --        you were taken before                                a    grand        12           it    wasn't.                 It        was          sanctioned                 through the governoris
  13           jury?                                                                                                                                           13           office.
  14                    A.              No.                                                                                                                    14                    Q.          Okay.                    With           regards to the lawsuit                                    that        we


  15                    Q.              No,         you weren't                          personally                 in front            of        the          15           have here today,                              are you                familiar with Officer
  16           grand jury                    or,        no,         you don't                  know           if    your          case went                    16           Juventino            Castro?

  17           before            a    grand jury?                                                                                                              17                    A.          Only               as        much         as     I    have read.

  18                    A.              I     was         not            taken           before           a    grand jury               and the                18                    Q.          Through the documents                                           that were presented to
  19           case     was           not         brought before the grand jury.                                                                               19           you by         plaintiff's                          counsel,               correct?
                                                        you         disciplined?                                                                                                                 Yes,               malam.
  20                    Q.              Were                                                                                                                   20                    A.


  21                    A.              No.                                                                                                                    21                    Q.          You            have never                      contacted            anybody                  in the
  22                    Q.              So         the        shooting                  was      found             to   be       within                        22           Houston         Police                  Department                    regarding                  him?

  23           policy?                                                                                                                                         23                   A.           No.

  24                    A.              Yes.                                                                                                                   24                    Q.         Anybody                       in Texas law enforcement regarding
  25                    Q.             Any other                         discipline?                                                                           25           him?




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                                                                                                                                    Page 106                                                                                                                                                Page             108
           1            A.           That's                correct,                 ma'am.              Yes.      My            apologies                              1   traffic       stop?

           2   for that.                                                                                                                                               2            A.            Yes,         predicated               upon           a   violation                   of         the    law

           3            Q.           Let's                look at number 61, if you would.                                                       The                   3   or has reasonable                      suspicion                  that          an     individual                       has been

           4   HPD     annual racial profiling                                            statistical                 comparative                                      4   involved          in         some     type        of     crime              or therels                  a     crime

           5   report             from         2009 to              2016.                                                                                              5   afoot.        But has to                have           articulable                     reasonable
           6                         Are you aware of                                 the        statutory requirement                                                 6   suspicion.
           7   regarding                 racial profiling reporting in                                                Texas.                                           7            Q.            When         you render expert                           opinions,                   do         you

       8                A.           No,            I'm        not       familiar with it verbatim,                                          but          I            8   normally          rely         on     newspaper articles                               as     your            basis to
       9       know in general                            it's       a        requirement                for the police                                                9   formulate              an     opinion?
   10          department is to produce that report.                                                                                                          10                    A.            Sometimes.

   11                   Q.           And what                    else          do     you understand                           about        that              11                    Q.            And you find                these           reliable                  sources?

   12          law?                                                                                                                                           12                    A.            It depends.
   13                   A.           That's                it,                                                                                                13                    Q.            When         you were           formulating                     your         opinion                  in
   14                   Q.           Do        you understand                             or are you aware that                                  it           14           this      case,            did you conduct                    any research                         as       to how

   15          only focuses                    on         motor          vehicle                stops?                                                        15           municipalities                      in Texas handle their use of force?
   16                   A.           Yes,            ma'am,              that's            my     understanding.                                              16                    A.            I     don't     understand.
   17                   Q.           And            this         case          is     not        involving                a     motor                         17                    Q.            Did you         do    any independent                            studies                   or

   18          vehicle             stop?                                                                                                                      18           research,              call         anybody        in other Texas cities                                          to     see how

   19                   A.           No,            it     does not.                                                                                          19           they handle use of force                                 so       that you could compare them
   20                   Q.           And that                   motor              vehicle         stops         --           would you                       20           to Houston?

   21          agree         with        me         motor           vehicle               stops         in any jurisdiction                                   21                    A.            When         you say handle use of                                   force,            I        didn't
   22          can    be      based            on         --     let          me    rephrase that.                                                            22           call     any agency.                   But        I'm        not       understanding                          when you

   23                                When            law enforcement conducts                                         a       traffic            stop,        23           say,     how they              handle use of force.
   24          the    individual                     may or may not                         be     part of the community                                      24                    Q.            Did you         call        them to              ask them how they

   25          in which the                     stop           is    being made.                        For     instance,                   it                25           investigate                 use of      force?


                                                                                                                                    Page 107                                                                                                                                             Page                109
                                                               traveling through                                  city?                                                                                   malam.
       1       could         be     somebody                                                              the                                                      1                A.        No,

       2                A.           Sure.                                                                                                                         2                Q.            How     they     draft            their policies for                                   use of

       3                Q.           But            that        is       a     statistic                that would                  be                             3       force?

       4       replaced in                 a        traffic              stop?                                                                                     4                A.            No.

       5                A.           Sure.                                                                                                                         5                Q.            How     they     conduct training                               on     use of                   force?
       6                Q.           And            on     number              63,        HPD     IAD     investigation                                            6                A.        No.

       7       summaries,                number                63,       are        officer             involved               shootings,                          7                Q.        Would             that    be        something necessary to
       8       correct?                                                                                                                                            8       formulate              an     opinion?
       9                A.           That's                correct,                 yes,        ma'am.                                                             9                A.        Not necessarily,                           no.

   10                   Q.           Anything else that you asked for?                                                                                        10                    Q.            Did you consult                       with any municipality                                       in
   11                   A.           I'm            sorry.               That         I    asked         for?                                                 11           formulating this opinion?
   12                   Q.           Yes.                Anything else that you asked for other                                                               12                    A.        No.


  13           than the             statistician's                             report?                                                                        13                    Q.        When             you were           formulating                    your          opinion,                  did
  14                    A.           No,            everything                     else     was         supplied               to     me.                     14           you have          --        discuss         it     with any of your                            peers?

  15                    Q.           And then                   just real quick, if                              you           will         look at           15                    A.        No.

  16           the    November                 12th            report,              anything             in there?                                            16                    Q.        Did you discuss                           it    with any other experts?
  17                    A.           That            I     specifically                     asked         for,            no,       these         were        17                    A.        No.

  18           supplied             to    me         by --                                                                                                    18                    Q.        Did you             talk with,                  I    believe               your            partner,
  19                    Q.           No,            no,        that you used to formulate                                           your                      19           Mr.    Roberts,               in your        Scott-Roberts                           firm?

  20           stats.                                                                                                                                         20                    A.        No.

  21                    A.           Oh,            I'm        sorry.                                                                                         21                    Q.        Did you give                    drafts              of       your        report                to     anybody

  22                                 No.                                                                                                                      22           to    review?
  23                    Q.           Okay.                                                                                                                    23                    A.        Yes.

  24                                 Is        a,        based           on        your     law enforcement                          training                 24                    Q.        Who?


  25           and experience                        an        officer              has     discretion                    to    conduct               a       25                    A.        That         would        be        Mr.        Owens,             and      it        was        a     draft.


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           1            Q.         And         I     believe              you already                  testified              that you                   1            A.           Okay.                      So    which opinion                          are you               referring to?
           2   did not conduct                       any independent                        investigations into                                          2             Q.              This is your                           complete opinion                             as         of

           3   this     case?                                                                                                                            3    October 12, correct?
           4           A.           I    did not.                                                                                                        4            A.           Okay.

           5            Q.          In       arriving                at your            conclusions,                       did you make                  5             0.              Pages              1     through                5?


           6   any assumptions regarding                                        the     case?                                                            6            A.               So    collectively                              you are             saying               --

           7           A.          No.                                                                                                                   7             Q.          What methodology did you use to                                                               formulate
           8            Q.         When            you formulate                      an    expert opinion,                        do    you             8    those         opinions?
           9   consider           all        the         evidence equally?                                                                               9            A.               I    first              and foremost                         researched the material
   10                  A.          Yes,            of     course.                                                                               10            that     was        provided                     to       me     by        my        client.             I    reviewed
   11                   Q.         So        in this             case,           did you give                    equal weight to                11            material            from               the       Houston                 Police Department,
   12          the    independent witness,                                 Ms.        Reyes?                                                    12            particularly policies.                                           I       used         IACP        model            policies                  and

   13                  A.          Yes.                                                                                                         13            training            keys               to       assist           in determining                          my        opinions.
   14                   Q.         And that                would           be     reflected in                     your       opinion?          14                                     I    also used                     my       knowledge, experience and
   15                  A.          It's            indicative in                      my    report,              sure.                          15            training            to        formulate                     my       opinions                so    that            was        my


   16                   Q.         Exhibit                Number           2,     point           to    me       where        in                16            methodology.
   17          opinions        one through                       five           you     relied          on       Ms.        Reyes?              17                     Q.          Let's discuss,                                  I     think        we        both have different
   18                  A.          Oh,         I     apologize.                   No,       they        are not              in the             18            perception                   and        definition                       of what         the            word           research
   19          opinions        per se.                    They are in the summary and they                                               are    19            means.

   20          considered               as    part of                my    overall deciding which                                               20                                 When               I       ask       if     you have researched                                     something,
   21          opinions           I'm        going to have.                                                                                     21            I'm     asking did you                               go     out          and conduct                    any studies,                         if
   22                  Q.          When            formulating                   your       opinions,                  did you make             22            you reviewed                   an           article,                 did you verify                          the         information
   23          credibility               determinations                          based       on        witnesses in this                        23            that    was         used               in that              article               to    form            their opinions.
   24          case?                                                                                                                            24            Did you         do           anything                 independently                      to        come            up        with your
   25                  A.          No.                                                                                                          25            opinions,            when               I       say research.



                                                                                                                Page 111                                                                                                                                                               Page 113
       1               Q.          Did you choose                          to believe                  facts provided to                             1                A.           My        opinions                     are based upon                         my        independent
       2       you by        plaintiff's                   counsel versus                        what        was           actually in               2        thoughts predicated                                   upon research                      so,            and        my        training
       3       the    case?                                                                                                                          3        and experience.                                 So    what           I    first         do        is     I    --         and       if        I'm

       4               A.          Plaintiff                   supplied               me    only the facts                     that                  4        answering your                          question,                    I    don't         want            to belabor                   this.
       5       were provided                  to         them.            Plaintiff              did not               -     I'm    sorry.           5        So    when      I    first                  get       a     case,              I'm     reviewing                   all        of     the

       6       My    attorney            did not provide                          me       with any facts                     outside                6        material that's presented                                                to     me.      And then                      from        that,           I


       7       the    case.                                                                                                                          7        then    can take                   a        look at the particular                                      practices                    and

       8               Q.         Are your                 conclusions                     based       on        your       perception               8        procedures,                   perhaps promulgated by the agency or by the
       9       of    facts     provided to you by                                 plaintiff's                    counsel?                            9        IACP    or      the           Police Executive Research                                                Forum.

  10                   A.         Repeat                 the    question.                   Sorry.                                              10                                 And then                        from        there           I     develop               my        basis         as       to

  11                   Q.         Are your                 conclusions,                     are your               opinions             based   11            my    opinions                and formulate                              my     opinions.                    And then

  12           on    your    perception                    of        the    facts           as     provided to you by                           12            subsequently                   I       provide                 them in                writing.
  13           plaintiff's               counsel.                                                                                               13                                 Did           I        answer             that question?
  14                   A.         My         opinions                are based              upon the               facts                        14                    Q.           Yes,              yes,           you did.

  15           presented by your                          agency           and your              agency            alone, in                    15                                 The           articles                    though that you referred                                            to were

  16           addition        to        the        research material that                                   I    used to                       16            given to you,                      the           newspaper articles                                were given to you

  17           support       my         basis.                                                                                                  17            by    plaintiff's                       attorney.                        You     didn't            go        pull            those

  18                   Q.         And research                        material              or the           newspaper                          18            yourself,            did you?
  19           articles,          the         IACP         stuff           that        we    already discussed?                                 19                    A.           No,           I        didn't.
  20                   A.         In part.                                                                                                      20                    Q.           What about                           the        IACP        stuff,            did you pull                         it
  21                   Q.         What             was     the        methodology you used to                                                   21           yourself?
  22           formulate          the         opinion                in Exhibit              2?                                                 22                    A.           I        did.
  23                   A.         Which             opinion?                                                                                    23                    Q.           I        don't              recall              any reference                      to        any         PERF


  24                   Q.         In         Exhibit            2,        your        October 12th report.                                      24            article.             Is        there                 PERF        articles               that you referred                                 to?

  25                              No,         this         one,           sir.                                                                  25                    A.           No,           not           in this particular                                case.




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       1                    A.          I'm         not        perceiving                     anything.                       I'm    telling you                   1    started            to pedal                   quickly.
       2       what         I'm     seeing from                      my         law enforcement experience                                             and         2                            Based            on         everything                  I       have seen,                    that's                not

       3       what         I    could see in the deposition                                                  --     excuse           me,            in the        3    necessarily                   the         case.               Mr.        Baker           was            black.                He's

       4           video.                                                                                                                                          4    wearing            a    ubiquitous                       hoody.                He       is     riding in sandals
       5                    Q.          You         say        on        Page        13       the     video clearly shows                                          5    and     it        does not                fit           the        method           of        operation                   of       the

           6       Mr.    Baker         riding his bicycle                                    past        the        Little            Caesars                     6    previous               robbers.                     So       therefore                  there is                no        articulable
       7           store,        but        there is                no     evidence that                           Mr.            Baker     was                    7    reasonable suspicion                                     other than                     Mr.         Baker            is       black and

       8           casing the premises.                                   Rather              Mr.     Baker              was        casually                       8    he's wearing                   a     hoody.

       9           riding his bicycle                           and may have looked                                      into        the        store              9                Q.          So     the            fact           that        he     is       in         a    hoody,               a    dark

   10              front,        which does not remotely                                            indicate                  somebody casing                 10        hoody,            African            American male,                             what           Officer Castro
   11              the    place.                                                                                                                              11        believes               to     be     casing,                      the    unprovoked                      flight,                  robberies

   12                                   We        have         already discussed that, and that's                                                             12        being committed --                                 he        is        present           on         the        property                    where

   13              your     perception                  of      what            you see in the                           video;            yes?               13        robberies               are being committed                                     during the time                                   of       day or

   14                       A.          Yes,           ma'am.                                                                                                 14        time        of     night, his aggressive behavior,                                                             and        that's                not

   15                       Q.          It's           not      based               on       any actual                  investigation                   or   15        enough            to    ask him under Terry v.                                           Ohio            to     additional
   16          methodology,                       is     it?                                                                                                  16        questions?
   17                       A.          It's           based         on         the          information that                          I    received          17                    A.          Well,            a     couple of things.                                        You     are           testifying
   18              from     my    client provided                               by Houston                    Police Department.                              18        of    what         I'm        saying.                    I'm           telling           you that                   you're

   19              That's        what         I     have to base                         my    opinion on.                                                    19        claiming that he's                                  engaged              in     flight                  when video                     doesn't

   20                       Q.          Anywhere                in opinion                     one did you take                             into              20        indicate that                       he        is       pedaling                any faster,                      although                    he


   21              account,         since we're talking about                                                 totality               of                       21        may have turned                          away.

   22              circumstances,                      the      description                         of Mr.           Baker           given by                 22                                The         second               thing, if                  I    was            Mr.     Baker,                 I    would

   23              Ms.    Reyes?                                                                                                                              23        be pissed               the         way        I        got        stopped by Officer                                 Castro.
   24                       A.          The         description provided                                      by Ms.               Baker.            What     24        Sure,            almost        get            hit        by        a    car     or at               least            the          car       is

   25              are you saying?                        I'm            sorry.               I'm     missing something.                                      25        positioned in                       such           a     way to prevent                             me        from        traveling


                                                                                                                                     Page 163                                                                                                                                                     Page                   165
       1                    Q.          The         description                      of       Mr.     Baker              provided by                               1    out     of        the       parking                lot,            sure,        I       would            be     a     little
       2       Ms.        Reyes.                                                                                                                                   2    pissed,            absolutely.
       3                    A.          Yes,           what         about            it.            I'm       sorry.                                               3                            So     given that,                             given all of that,                                 I       don't

       4                    Q.          Did you take                       that              into consideration                             in                 4        think there                   was        articulable                       reasonable suspicion                                            to

       5           opinion        one?                                                                                                                             5    stop        Mr.        Baker.

       6                    A.          Yes.                                                                                                                       6                            MS.         CALLAN:                   Objection,                     nonresponsive.

       7                    Q.          Where is                that?                                                                                              7    BY    MS.         CALLAN:

       8                    A.          I     didn't cite it.                                                                                                      8                Q.          So     you are                   basically                  making               a     credibility
       9                    Q.          Would Mr.                   Baker's                  aggressive behavior                                be                 9    determination                       on       what            Officer            Castro                  said?

   10              something that                      needs         to        be        taken into consideration                                             10                                MR.         LOEW-REYES:                            Objection,                         that misstates

   11          when analyzing                          totality                 of       circumstances?                                                       11                    testimony.
   12                       A.          Yes.                                                                                                                  12                                THE         WITNESS:                      Not at            all.                Not     at        all.
   13                       Q.          On        Page         14    you say,                  quote, actions                         of Officer              13        BY    MS.         CALLAN:

   14          Castro were inconsistent with generally accepted                                                                                  police       14                    Q.          Are you supplying                                  legal standards in this
   15          practices                and procedures.                                                                                                       15        apinion?
  16                                    That's            a     pretty general statement.                                                  So    what         16                    A.          I'm         not        an        attorney,                  ma'am.

  17           are        these         specific police practices                                              and procedures you                             17                                MR.         LOEW-REYES:                            Objection,                         foundation,
  18           are        referencing?                                                                                                                        18                    legal opinion.                               I    was        going to say answer                                       anyway.

  19                        A.          Sure.             As        it     relates              to        articulable                                         19        BY    MS.         CALLAN:

  20           reasonable suspicion,                                     Officer               Castro              had        a     hunch        that         20                    Q.          Let's            go        to        opinion number two                                 on        Page             14.

  21           perhaps            Mr.         Baker           might            be        a    robbery suspect                         based upon              21                                Under basis                          it        says,        according                   to        the

                                                                                                                                  black male.                          American Psychological                                         Association                      --               you see that?
  22           a     few things;                    number           one,            Mr.       Baker           was        a                                   22                                                                                                                 do


  23           Number two;                    Mr.       Baker            was         wearing              a    hoody;               that                      23                    A.          Yes.

  24           Mr.        Baker         was         casing the stores;                                and that                    when upon                   24                    Q.          And that                   is        referencing                     the         WEIR         article                   that

  25           seeing Officer                          Castro,             he        immediately                     turned away and                          25       you referenced?




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           1               A.           Yes.                                                                                                                 1                 A.              Sure.

           2                Q.          And have you recently                                    read this article?                                          2                 Q.              And where                is     the     list       of     other studies                          that
           3               A.           Maybe               a    month           ago.                                                                        3    they         referenced                        to    come     up     with that conclusion?
           4                Q.          And has                  it    been peer reviewed?                                                                   4                 A.              I     believe            there is            an    article            that            I    cited        as


           5               A.           Don't recall.                                                                                                        5    to     --         use to            support            my     facts.            It's         here        from           the

           6                Q.          Would that                     be        something you should check                                                  6    police chief                        magazine                that also states                      that black
           7   before relying                              on    it?                                                                                         7    American males                            --        or excuse         me,       African            American males
           8               A.           Not necessarily,                                ma'am.                                                               8    based             on    a         perception                are     considered to be either
           9                            The        American Psychological                                Association                     is    a             9    dangerous or possess                                    a    weapon.

   10          reputed association,                                    and the            fact        that     it's       being                     10                                         MS.         CALIAN:             Objection,              nonresponsive.
   11          published                within                  the    publication associated with                                       the        11            BY    MS.          CALLAN:

   12          American Psychological                                           Association,            they        would not just                  12                         Q.              My     question,                sir,     was       where         are        those

   13          arbitrarily                    print anything that                               was     either           not                         13           articles                 referenced                   in here that                 they       relied           on?

   14          consistent                   with their                      standards and what have you.                                       So    14                                        MR.         LOEVY-REYES:                 Objection,                  foundation                   and

   15          being peer reviewed,                                    no.                                                                           15                        relevance.                         But     go    ahead.

   16                       Q.          What does peer review mean to you?                                                                           16                                        TBE         WITNESS:             May     I     take       a     look at it?
   17                      A.           That            means your                     fellow    peers,            those       that are             17                                         Thank you.

   18          in the            same         business,                     either        have reviewed                  it    and/or               18                                         Well,             there's        a    number         of        them here.                    Further
   19          conducted additional testing based upon your hypothesis                                                                              19                         reading,                    racial bias                and     policing,              why        we        know

   20          and conclusions.                                                                                                                     20                         less            than         we        should,         final report                  of    the

   21                      Q.           So        its           an    intensive evaluation                          of    the                       21                        president's task force                                    on       21st         century policing,
   22          analytical                   validity                  of        the    proposed conclusion;                          isn't          22                         implicit                    bias and policing,                       and then              related
   23          that the actual                              definition                  of peer reviewed?                                           23                         articles,                    adoption of implicit                              bias is hasty.
   24                      A.           I     wouldn't                 know,           malam.          But     since you quoted                     24                                         I'm         not        understanding               your         question.
   25          it,     I        imagine you are correct.                                                                                            25            BY    MS.          CALIAN:



                                                                                                           Page 167                                                                                                                                            Page 169
       1                   Q.           Do       you know                  if     an     intensive evaluation has                                        1                    Q.               That         doesn't            mean --           further reading does not
       2       been done                on        this article?                                                                                          2        mean that                    they         were        actually relied                      upon,        does            it?
       3                   A.           Not        to           my    knowledge.                                                                         3                    A.               It might be.
       4                   Q.           Is        it        your       opinion            that       everything               that        the            4                    Q.               It does not necessarily                                 mean that                it        was


       5       APA    prints                has to               be    valid           because         they    printed it?                               5        though,                was         it,     because            they        would have to cite                             it     to

       6                   A.           No,        not           necessarily.                   But     they       wouldn't              print           6        in this article?
       7       trash,            and        so     because                 one        individual author                   has        a                   7                                     MR.         LOEW-REYES:                 Objection,                   foundation                  and

       8       different                opinion                  doesn't              necessarily            mean that               it's                8                    argumentative.
       9       not    valid             or        it        can't          be     used     as    a    substance for basis.                               9                                     THE     WITNESS:                 Okay.

   10                      Q.           But        that's              not        what we're            talking           about          here.      10            BY    MS.          CALLAN:

  11           We're            talking            is           how    do       you know the             information in                             11                        Q.               They are               just      saying           additional reading,
  12           this        is     valid if                      you don't              know     it's     been peer                                  12            further reading,                                additional reading,                         correct?
  13           reviewed?                                                                                                                            13                                        MR.      LOEW-REYES:                     Objection,                foundation.
  14                       A.          With            regards to the conclusion                                   that        was       cited      14                                        Go      ahead.

  15           here        with regards to black African                                              Americans               being                 15                                        THE      WITNESS:                 Yes.

  16           considered,                   as        I        stated          in the report,                one of           the       most       16            BY    MS.         CALLAN:

  17           well demonstrated types                                          of     implicit        bias is the                                  17                        Q.               Is     anywhere                in this        article           do        they            reference
  18           unconscious association                                          between         black individuals and                               18            the    Houston                    Police            Department?

  19           crime.             That           association                      can influence               an    officer's                       19                        A.              No.

  20           behavior            even            if           she doesn't              hold or express                      explicitly            20                        Q.              But      in this article                       they        do     state that                  roots
  21           racist beliefs.                                                                                                                      21            of    disparity aren't                                always        clear.             Do    you        recall that?
  22                                And by the                         way,           that comment has also been                                    22                        A.              That's             correct.
  23           supported by other studies.                                                                                                          23                        Q.           And also                   in this         article            they       state                that
  24                       Q.       We're                  not        talking           about        other studies                   though,        24           psychologists                         have preconceived                          ideas about               law

  25           we're talking about                                    this article               right here, sir.                                   25            enforcement,                        so     a    preconceived                   idea tends               to make one




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           1   bias.             Isn't that                 what            they       are          saying?                                                          1    because          we       are        different              people,               the        way    we       behave       to       a




       2                   A.       Or       it           could skew the results                                        or the                                   2        situation             is       going to              be     based           on     the        individual?
           3   interpretation                      of       the        results.                                                                                      3                          NR.       LOEW-REYES:                           Objection,               relevance,
       4                   Q.       They also say that                                     implicit                 bias looks                  at               4                   mischaracterizes                          prior testimony.
           5   one's character;                            yes?                                                                                                      5                          Go       ahead.

           6               A.       Repeat                 the question.                                                                                             6                          THE       WITNESS:                  Sure.

           7               Q.       Do       you           recall this article                                     stating that                                      7                          MR.       LOEW-REYES:                           Well, you already have.
           8   implicit            bias looks at one's character?                                                                                                    8    BY   MS.        CALLAN:

           9               A.       I       don't           recall            off          the        top          of       my    head.                              9               Q.         The       paper           still           says        there's            lot       to    learn         on


   10                      Q.       Do       you           recall this statement                                        from        this                    10            this.           And       this        is    basically                  meaning               this       is    not

   11          article it                says,             character                  is    a       weak           predictor               of               11            indicative                of    anything,                 right?
   12          behavior,            but          situations                   are          strong predicters                               of               12                       A.         I     don't          understand indicative of anything
   13          behavior?                                                                                                                                    13            part of the question.                                  I'm           sorry.
   14                      A.       Yes.                                                                                                                    14                       Q.         Does       the        paper state                     they            still       have       a   lot     to

   15                      Q.       So       what           does that                  mean to you?                                                         15            learn?
   16                      A.       That          a        nebulous concept                              of        character               can't       be   16                       A.         Sure.

   17          considered               a    good           particular                     of       --     a       particular               action          17                       Q.         And the              paper states                     that        therels              still
   18          of    an         individual.                                                                                                                 18            information that                       needs           to       be     deduced?

   19                      Q.       Or       that           they        are           saying,              in essence,                     you need         19                       A.         No       dispute.
   20          to    look at the                  totality                   of       circumstances                          and what's                     20                       Q.         So       how can           this           be     reliable?
   21          happening at that                            time?                                                                                           21                                  MR.       LOEW-REYES:                           Objection,               foundation.
   22                      A.       Well,                 they        are not              using those                       terms.             They        22            BY   MS.        CALLAN:

   23          are     saying           other factors                         come          into play.                                                      23                       Q.         Regarding the Houston                                   Police Department?
   24                      Q.       But          in essence,                      that's              what          they          are      saying           24                                  MR.       LOEW-REYES:                           Foundation.                   Go       ahead.

   25          when they            say that                 the        situation                     is       a    strong predictor                        25                                  THE       WITNESS:                  Because             it    cites           a    possible


                                                                                                                                    Page 171                                                                                                                                           Page 173
       1       of behavior?                                                                                                                                      1                   implicit             bias by individuals                                related              to    law

       2                   A.       Yes.                                                                                                                         2                   enforcement.                     It's          just         one of           a     number          of

       3                   Q.       Because                 you and               I    could             be        in the           same                         3                   articles             that        are        out        there that                  talk       about

       4       situation            but       we're going to act                                      differently,                       correct?                4                   implicit             bias and what                         it    is,     and        so       why wouldn't

       5                   A.       We       might.                                                                                                              5                   I    want        to use that.

       6                   Q.       Well, but you are older than                                                        I    am    I'm      going                6        BY   MS.        CMJAN:

       7       to bet;            yes?        I'm           50,        so     you are older                             than       me?                           7                   Q.         It doesn't                reference                   Officer            Juventino
       8                   A.       The       jury           doesn't                  need to              hear that.                                            8        Castro,          does          it?
       9                   Q.       So       the           answer            is       yes?                                                                       9                   A.         Directly into                       the        article?
  10                                MR.       LOEW-REYES:                              Object to relevance.                                                 10                                  MR.       LOEW-REYES:                          Objection,                relevance.
  11           BY    MS.        CALIAN:                                                                                                                     11                                  Go       ahead.

  12                       Q.       And       I       was        raised               in Upstate                   New           York.          You         12            BY   MS.        CMIAN:

  13           were raised                  in Florida?                                                                                                     13                       Q.         Yes.

  14                       A.       No.                                                                                                                     14                       A.         No.

  15                       Q.       Well, most of your                                     career has been in                                               15                       Q.         And       it     doesn't              directly               or       specifically
  16           Florida?                                                                                                                                     16            reference             the       Houston              Police            Department?

  17                       A.       Yes.                                                                                                                    17                                  MR.       LOEW-REYES:                          Objection               to     relevance.
  18                       Q.       So      we        have been raised                               differently;                        yes?               18                                  Go       ahead.

  19                                MR.       LOEW-REYES:                              Objection,                       foundation.                         19                                  THE       WITNESS:                  No.

  20                                You       could              go     ahead.                                                                              20            BY   MS.        CMIAN:

  21                                THE      WITNESS:                       Ma'am,              I   can't               answer           that               21                       Q.         And because                 we        don't          know         if this              has been

  22                       question.                  I     don't           know anything                          about           you.                     22           peer reviewed or not,                              and        it        says        itself           that more
  23           BY    MS.        CALLAN:                                                                                                                     23            information                needs           to   be        done and that                      psychologists
  24                       Q.       Exactly,                 that's               what          I'm        trying                to get,         we         24           have        a    preconceived notion                              of        law enforcement,                        it's      not

  25           are    different.                      So     if we're in                        the        same             situation                       25            really reliable?


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           1                         MR.     LOEVY-REYES:                        Objection,                foundation,                                       1                               (A     break                     was         had.)
           2              relevance,               argumentative.                                                                                            2                               THE        VIDEOGRAPHER:                                        We're             back on video

           3                         Go     ahead.                                                                                                           3               record.                        The           time            is        2:00        o'clock                   p.m.

           4                         THE     WITNESS:                I     disagree.                                                                         4                               MS.            CALIAN:                       Mr.            Scott,           I'm         going to               go       back

           5   BY   MS.        CALLAN:                                                                                                                       5               before                we           get            into           the            Fryer report                       that's        marked

           6              Q.         Let's        go     on    to        the      next            one.                                                       6               as         Exhibit                     11.                 And     I        want you to                      look at Exhibit
           7                         Well,         let    me        go     back.                 Did you         participate                 in              7               12         and        13           that               I     handed you.

           8   any of          these        racial bias studies that                                      are     referenced                 in              8                                                                         (Defendant's                  Exhibit                   Nos.      12       &




           9   this       APA    article?                                                                                                                    9                                                                     13     were marked                          for
   10                     A.         No,     ma'am.                                                                                                 10                                                                             identification.)
   11                     Q.         Your        knowledge of this                               article         is        limited         to       11            BY   MS.         CALLAN:

   12          this article?                                                                                                                        12                       Q.              Twelve                      is        the        homicide statement given by
   13                     A.         My     knowledge of the article                                      is     limited              to            13            Officer Castro,                                   and            13     is        a        summary of his,                          well,
   14          this article.                                                                                                                        14            actually                  it's            a       cut            and paste version                                  of       his     IED

   15                     Q.         Did you           call     Dr.             Weir?                                                               15            statement.
   16                     A.         No.                                                                                                            16                                       When               we're discussing                                    your            term         or your

   17                     Q.         Did you           call     anybody                    at     APA?                                              17            opinion               that he, meaning                                        Mr.           Baker,            was            forcibly
   18                     A.         No,     ma'am.                                                                                                 18            stopped by Officer                                           Castro,                  we     went            through the grand
   19                     Q.         Did you reach out                           to        any of the             organizations                     19            jury testimony                                and           we        went            through the deposition
   20          referenced                in here?                                                                                                   20            testimony,                     and you correct                                        me     if    I'm            wrong,            stated              I


   21                     A.         No,     ma'am.                                                                                                 21            believe               it's        in one of his statements.
   22                     Q.         Did you reach out                           to        any of         the     other                             22                                       These are                             the        only two statements,                                     and I'm

   23          psychologists                 that are referenced                                  in here?                                          23            asking you to                             see           where               it         says       in there that                        it       was


   24                     A.         No.                                                                                                            24            forcibly                  stopped.
   25                     Q.         Did you look               up         anything under the                              NCBI                     25                       A.             And in retrospect,                                               ma'am,             I     know that               in one


                                                                                                                           Page 175                                                                                                                                                                Page 177
       1       website?                                                                                                                                  1        of   his statements,                                        whether                   it's        written                or     deposition
       2              A.             No,     I    did not.                                                                                               2        or grand               jury, that                            he         indicated,                      and         I    could not                  find
       3                  Q.         So     your       knowledge of the                               information in this                                3        it right              now unless                             we         spend another                             hour,         I    cannot

       4       article          is       this article itself?                                                                                            4        find it.                  But         I'm               certain that                          he        indicated that                          he


       5              A.             Sure.                                                                                                               5        pulled in front                                   of        Mr.        Baker               and caused                    him to            stop,                is

       6                  Q.         You     did not           go        and      do            independent                                              6        my   recollection.
       7       investigation?                                                                                                                            7                 Q.               All right.                                  That's               fine.              But        we     read        the

       8              A.             No.         Why     would I?                                                                                        8        deposition testimony                                                 where            he     said side by side;                                 do          you

       9              Q.             You     do    not        know what                    the     methodology that                        was           9        recall that?
   10          used to          garner this information?                                                                                            10                     A.               Yes,                ma'am.

  11                  A.             No,     other than what's described in there.                                                                  11                     Q.               And         we           read the grand jury                                            testimony                where                he


  12                  Q.             Let's        look at            Dr.         Fryer's              article.                                      12            said that                 he      pulled                         --    we         read the grand jury                                 testimony
  13                                 Was     this peer reviewed?                                                                                    13            also,         and there                           was        no         indication that                                 he    pulled in
  14                  A.             I     believe        it    was.                                                                                14            front,           do       you remember                                  that?
  15                                 MS.     CALLAN:            So         on     the           first      page --              I'm                 15                     A.               Okay.                    It        states                   in his            --        looks like his
  16                  going to mark this Exhibit 11.                                                                                                16            witness           statement,                                that's Exhibit                              12.

  17                                                      (Defendant's                          Exhibit         No.        11    was                17                     Q.               His         homicide statement?
  18                                                      marked            for        identification.)                                             18                     A.               Could                   it        be        Baker            COHOO342.                        He    states,               I


  19                                 MS.     CALLAN:            Counsel,                    I    will      make        a    clean                   19            finally           drove               in the fourth                                    full        --        I'm         sorry,         the

  20                  copy.                It will        be    marked                as        Exhibit         11.                                 20            fourth          paragraph,                              middle of the paragraph,                                                I    finally
  21                                 NR.     LOEVY-REYES:                       Exhibit               Number 11.                 Okay.              21            drove       up        a     little                     past            him and asked                              him to            stop        for             a



  22                                 MS.     CALLAN:            Could            we         go     off     the        record for                a   22            second          because                       I    needed                to           talk        to him.                    This time                  the

  23                  second?                                                                                                                       23           male      finally                  acknowledged                                    me       and stopped his bike.                                            I


  24                                 THE     VIDEOGRAPHER:                       Time            on      monitor is 1:51.                           24           got    out         of       my         car               to           talk         to him.

  25                  We're              going off            video record.                                                                         25                     Q.               May         I           see that?




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                                                                                                                                          Page 178                                                                                                                                                        Page 180
           1                           But        a       little             past         him does not                       mean              he                                      1                        Go     ahead.

           2   stopped in front                             of       him?                                                                                                              2                        THE         WITNESS:                  No.

           3              A.           Based              on      the        video         --         excuse           me,            the       crime                                  3   BY    MS.         CALLAN:

           4   scene           photographs,                       ma'am,            it     is     very           indicative that                                     he                4               Q.       So     it's         based             on        your         opinion.               You     don't
           5   used his              car      to          compel             him to          stop.                                                                                     5   know what             either party                      was          thinking, correct?                               There's
           6                  Q.       So     Exhibit                 Number 10,                      show       me        where               it's                                    6   no    evidence that                     he        struck             the     bike,          correct?
           7   indicative that                            you        forcibly              compelled him to stop,                                               is                     7               A.       That's             not       my       testimony.
           8   your           testimony.                                                                                                                                               8               Q.       My     question                is          very        simple,             sir.           And     if    you

           9              A.           This is probably not the actual                                                           location                      of                      9   don't            understand             it, let                 me    know and              I     will         rephrase
   10          where           Mr.    Baker               ultimately dropped his                                       or        initially                                    10           it.
   11          stopped.               You         have Officer                       Castro's                   car        who's               edging in                      11                       A.       You         were asking                     multiple questions in                                 one

   12          a    direction that                          is       preventing                  Mr.       Baker             from              riding                         12           line        of     questioning,                   ma'am.

   13          along the hedge line.                                       And       as     a     result,                  Mr.            Baker               must            13                       Q.       You         don't         know what                    Mr.       Castro           --      I'm     sorry,
   14          have           assumed that                      he    couldn't              go         any farther                         or           was                   14           Officer            Castro         was         thinking, correct?
   15          going to get struck                                   by the          car.                                                                                     15                   A.           No,         other than what he's                                  testified                to.

   16                         Q.      You         are            speculating                as         to what Mr.                         Baker               was            16                       Q.       You         don't        know what                    Mr.        Baker        was         thinking,
   17          thinking, correct?                                                                                                                                             17           Correct?
   18                     A.          Let         me        put       it      this         way.                                                                               18                   A.           No,         he's dead.
   19                     Q.           It's           a     simple yes or no.                                                                                                 19                   Q.           You         don't        know --                  I'm        sorry.           There's            no


   20                                 MR.         LOEVY-REYES:                            I'm     going to object.                                            That            20           evidence that the car                               came             in contact with this
   21                     mischaracterizes                              his testimony.                                                                                        21           bicycle?
   22          BY   MS.            CALIAN:                                                                                                                                    22                   A.           There is                no     evidence and                       I    never           testified           to

   23                         Q.       It's           a     simple yes or                        no     question.                          Are you                            23           that.
   24          speculating                  what            Mr.       Baker          is     thinking?                                                                         24                       Q.       And you             --       Let's              go     to     Exhibit             Number 11,

   25                     A.          No.                                                                                                                                     25           Mr.    Fryer         or Dr.             Fryer's                 report.


                                                                                                                             Page 179                                                                                                                                                                     Page 181
       1                  Q.          You         know what Mr.                           Baker        was            thinking?                                                    1                            The         question              I    posed            to you before                     we     went      on


       2                              MR.         LOEW-REYES:                            Objection,                   mischaracterizes                                             2       break        was     was     this article peer reviewed.                                                    And you

       3                  testimony.                                                                                                                                               3       testified            you believed                      it        was.            Do    you remember                   that?
       4                              THE         WITNESS:                    You         just        asked           me         if        I    was                                4               A.           Yes,         malam.

       5                  speculating                       on       what      Mr.         Baker           was        thinking,                          and         I             5               Q.           On     the     very            first             page there                  at     the     bottom

       6                  said,         no,           ma'am,            I'm         not.                                                                                           6       says Baker             POA001576?

       7       BY   MS.            CALLAN:                                                                                                                                         7               A.           Yes.

       8                  Q.          So,         no,          you are not                  speculating?                                                                           8               Q.           Above the                copyright                    2016,           read that paragraph
       9                  A.          No,         I'm          not      speculating.                                                                                               9       please,            for the record?
   10                     Q.          Are you saying                           that         the        bicycle               was               moved in                       10                   A.           Which?

  11           this picture?                                                                                                                                                  11                   Q.           The     paragraph that                               starts           MBER        working
  12                      A.          No,         I'm          not      saying             that        it       was         moved,                  but                       12           papers.
  13           most       likely            was           not        the      initial             position                  of        the           bike                  ;
                                                                                                                                                                              13                   A.           Sure.          Okay.                  My        mistake.
  14           when Mr.              Baker            was        stopped.                                                                                                     14                   Q.           Please         read           it       for the record.
  15                                  Remember, Mr.                          Baker          drops            the       bicycle.                           So                  15                   A.           Sure.          MBER           working papers are circulated                                             for
  16           what       I'm        stating                to you is                that         this           is    not            a        normal                         16           discussion             and comon purposes.                                        They have not                      been

  17           path by which Officer                                    Castro            would            be     driving his                             car                 17           peer reviewed or subject                                    to        the        review by the                   MBER


  18           other than              to block his way.                                                                                                                      18           board of directors that                                    accompanies                     official            MBER


  19                      Q.          And         that's              based          on     your           opinion?                                                           19           publications.
  20                      A.          It's         based upon                   my        law enforcement experience                                                          20                   Q.           So     that means                     it        wasn't peer reviewed,
  21           when       I        have attempted                       to     pull in front                          of     somebody to                                      21           correct?
  22           ensure that they                             either don't                    go        in    a     direction                         I     want                22                   A.           That's         correct.
  23           them to.                                                                                                                                                       23                   Q.           Did you contact                            Mr.        Fryer?

  24                   Q.             Do     you know what                          Officer                Castro            was               thinking?                      24                   A.           No,     I    did not.
  25                                  MR.     LOEW-REYES:                             Objection,                      foundation.                                             25                   Q.           Did you contact                            anybody               in this          article?


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                                                                                                                       Page 182                                                                                                                                                      Page           184
           1                A.          No.                                                                                                         1               A.          I     handed                      him --

           2                Q.          So     your         review of this                article is                   simply                       2                           NR.           LOEW-REYES:                               I    will            just         state            for the
           3    based            on    your         reading of the                   article only?                                                  3               record that, and                                 I    appreciate                         I     said         I    didn't        need

           4                A.          Yes.                                                                                                        4               a     copy,           but            I    did not get                         a     copy of               this         document

           5                Q.          No     independent investigation                                    by you?                                 5               when you handed                                 it    to         the          witness.                    So     Mr.        Scott
           6                A.          No,     ma'am.                                                                                              6               just        handed                   me        his copy of the study                                        that you are
           7                Q.          This article                 discusses                  New     York        City's         stop             7               questioning                          him about.

           8    and        frisk        program?                                                                                                    8                           MS.           CALIAN:                    Okay.

           9                A.           In part,            yes.                                                                                   9                           MR.           LOEW-REYES:                               So        this            is     the        only copy           I


   10                       Q.          Actually, let                    me        step        back.        This article                    10                      have to               review.
   11          breaks down in four subsets;                                          is        that     correct?                            11                                  MS.           CALIAN:                    That's              fine.                 We     could make you
   12                       A.          Yes.                                                                                                12                      a     copy.               I     just            want        to make sure                             what        the        witness
   13                       Q.          One     was         New     York           City        stop     and        frisk.          And      13                      is handing to counsel.

   14          then another subset,                               and then                the    third        subset         is             14                                  Turn to the last page.
   15          actually                Houston          Police Department,                             isn't it?                            15                                  THE           WITNESS:                    I     don't                 have         a     last        page,

   16                      A.           Yes.                                                                                                16
                                                                                                                                                                    malam.                I       don't             have Page                     36.

   17                       Q.
                                        Ilm      sorry.            The            second        subset        is     police                 17          BY    MS.         CALLAN:

   18          public contract                        survey.             And then               it's       Houston          Police         18                      Q.          You don't                          have the                 Page           36      of.

   19          Department, correct?                                                                                                         19                                  Counsel,                          for the record we'll                                    just        redo        the

  20                       A.           What pages                are you on,                   ma'am.                                     20           copy because                      welre missing the last page.

  21                        Q.          I'm     just flipping                       through            it actually.                        21                       A.          Would you                          like       me      to          read           it      for the record?
  22                       A.           Okay.                                                                                              22                       Q.          I     did.                   But     the        highlighted portion                                        is    what

  23                       Q.           Go     to     Page        35,        the     conclusions.                                          23           you said            I       was           mumbling                on.

  24                       A.           Yes,         ma'am.                                                                                24                    A.             Yes,              ma'am.

  25                       Q.           Discussion                regarding                the    use of            force in               25                       Q.          Could               you read                  that to yourself                                 again.             And



                                                                                                                      Page 183                                                                                                                                                       Page          185
       1       nonlethal situations,                               that           incorporates                the     New     York              1       then     my        question                     to you is                  is        that what                    it        states?
       2       City        information in                     the       public police                    survey;            does     it         2                A.             Yes.

       3       not?                                                                                                                             3                   Q.          Let's look                          at    the        Northwestern University
       4                   A.           Yes,         referring            to        officer            involved        shootings,               4       study            that you referenced                                    on          page 15.

       5       correct.                                                                                                                         5                               This study                         did not                  include                just        Houston

       6                   Q.           With         regards to               officer            involved            shootings,                 6       Police Department, did it?
       7       this        study         actually             found           that        on     the     most extreme               use         7                A.             Based               on        my     recollection                            it        did.
       8       of     force            officer         involved               shootings,               we     are unable to                     8                Q.             So     when                  it    references                         Las Vegas                Metropolitan
       9       detect             any    racial differences                           in raw data or when                                       9       Police Department, Portland                                                  Oregon                  Police Bureau.
  10           accounting                for control;                   is        that correct?                                            10                    A.             Are           we        looking               at     the              same         report,            ma'am?

  11                       A.           Yes.                                                                                               11           I'm     sorry.
  12                       Q.           Doesn't this                article               also say          on       Page     36    that   12                    Q.             Baker              BLA001639?

  13           it     is        plausible that racial differences                                             in lower level               13                   A.              Yes.

  14           uses        of         forces are simply                       a    distraction                --    seek      own          14                    Q.             So     it          wasn't just                       HPD?


  15           communities rather                           than changing the behavior of other                                            15                   A.              Based              on         what        I'm        reading in the
  16           external               forces?                                                                                              16           acknowledgment,                             it        appears              to        be        related             to

  17                       A.           It's         almost       like            you are mumbling,                    ma'am.              17           predominantly                         HPD.


  18           I'm     sorry.                 One     more time.                                                                           18                   Q.              Will              you agree                   with           me        HPD        provided
  19                       Q.           Let     me     go     back.                                                                        19           information for this report?
  20                                    You     are being questioned                              by myself,             correct?          20                   A.              Yes.

  21                       A.           Yes,        ma'am.                                                                                 21                   Q.              But           they            reference                     other law enforcement
  22                       Q.           And you just                handed            documents             to                             22           agencies?
  23           Mr.     Loevy-Reyes,                    correct?                                                                            23                   A.              That's                  correct.
  24                       A.           Yeah,         sure.                                                                                24                   Q.              That              was        my     question.                         We        could move on.
  25                       Q.          And      so     what       did you just hand him?                                                   25                                   You know                      if that Northwestern University                                                     was




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                                                                                                                                   Page 186                                                                                                                                                         Page                 188
           1   peer reviewed?                                                                                                                                        1                 Q.             Mr.        Scott,               we're going to start discussing
           2               A.          No,         it        was        not     based            on     what       I        recall.                                  2    opinion               number               four,            which starts                  on        Page             17.

                           Q.          Let's            go         to    Page         16       and discuss                   the        racial                       3                 A.             Yes,           malam.
           3




           4   profiling opinion                              that you gave.                                                                                         4                 Q.             And        this            is     --    your       opinion               is        that         it         was

           5                           You say                it's        based            on?                                                                       5    excessive and unnecessary force that                                                                was        used;             is       that
           6               A.          Which            opinion                are you on?                    I'm           sorry.               Which               6    correct?
           7   opinion               are you on,                    ma'am?                                                                                           7                 A.             Yes.

           8               Q.
                                       Ilm         referencing                   your            racial profiling                            that                    8                 Q.             And based                   on     case          law    as        well         as         the       best
           9   you comment for                          on         Page        16.                                                                                   9    practice                in law enforcement,                                   the        standard used to
   10                      A.          Page         15.                                                                                                     10            determine if                       the           force is reasonable and necessary is
   11                      Q.          Sixteen.                                                                                                             11            an     objective reasonable standard;                                                     is        that         correct?
   12                      A.          Sixteen.                                                                                                             12                         A.             Yes,           ma'am.

   13                      Q.          Furthermore,                       Texas            state         law       HPD        are           required        13                         Q.             And in fact,                       the       supreme              court has told                              us    we


   14          to    conduct                annual racial                       profiling                reports.                                           14            shouldn't                   do     a       20/20            hindsight review;                             is     that           correct?
   15                                  As     we        discussed earlier                               you are              aware that                     15                         A.             That's               correct.
   16          this        is        limited            to         discretionary                       and nondiscretionary                                 16                         Q.             Do     you           think         your          opinion           is         based            on     a       20/20

   17          traffic               stops,         motor               vehicle            stops?                                                           17            hindsight review?
   18                      A.          Yes,         ma'am.                                                                                                  18                         A.             No.            It's         based        upon the                 facts            presented to
   19                      Q.          And nondiscretionary                                      would mean that clear                                      19            me     and what                   my       experience,                   training              and knowledge have

   20          violation               of     the            law or perhaps                       a     warrant or                 some                     20            led     me        to        conclude.
   21          reason the                  officer             has to            stop            them?                                                      21                         Q.             Did you conduct                          your          own independent

   22                      A.          Sure.                                                                                                                22            investigation                          to        determine if                  the        force            was            reasonable
   23                      Q.          Let's            go         to    opinion               three,         excessive force.                              23            and necessary?

   24                                  Page         16,        you state                   a     review of surveillance                                     24                        A.              No,        I    did not.
   25          camera            from        one of                the    stores in the shopping center                                                     25                         Q.             And the               methodology you used is what,                                                   the



                                                                                                                               Page 187                                                                                                                                                             Page 189
       1       shows            Officer Castro positioning his police                                                          car           in                  1        same        methodology                          we     have been discussing                                   all         day?

       2       front            of   Mr.      Baker            as        he     was        riding his bicycle                               thus                 2                    A.              Yes,           ma'am.

       3       forcibly               stopping him.                            It's        uncertain               if Officer                                    3                     Q.             On     Page           17,         it's       above opinion                         four,            so


       4
               Castrols              positioning his car caused                                           Mr.          Baker         to,                         4        forgive               me     if        I'm        going backwards.                             It     states,                   quote,
       5       quote, wreck                   on        his bicycle                    and        fall        to       the     ground.                           5        if     --        that's            two paragraphs                            above opinion                       four;            if       the

       6                               Where            do     you        come        up        with wreck?                                                      6        additional injury suffered                                               by Mr.           Baker            were due to

       7                   A.          You     know,                and        that's something that                                 I'm                         7        falling               off     his bicycle because of being nearly struck
       8       mistaken at.                    That's                   not     correct.                                                                         8        by Officer                   Castrois car, the degree of force was

       9                   Q.          What is                the        mistake?                                                                                9        unjustified                       and not               objectively reasonable.
   10                      A.          I     can't            tell        for sure                if    Mr.        Baker           fell           to        10                                        Do     you see that?

  11           the     ground or the bicycle                                     went           to     the     ground              as       he     was      11                        A.              Yes,           ma'am.              But       I    believe           that             I     testified
  12           being stopped by Officer                                        Baker             (sic).            My       mistake               on        12            already               that         I       was        mistaken relevant                         to         the        wreck               or

  13           that.                                                                                                                                        13            causing him to                             fall         off        the       bicycle.
  14                       Q.         Or      if        he     actually               put         it    down himself?                                       14                        Q.              You        are not                providing             an     opinion                   as     to        a



  15                       A.          Correct,                yes.                                                                                         15            medical cause of his injuries?
  16                       Q.          So     let's            go        to opinion                   four.                                                 16                        A.              No,        ma'am.

  17                       A.          Can     I        break for the restroom again.                                                   I     am       so   17                        Q.             All right.                         Paragraph right                        above where                          it
  18           sorry.                                                                                                                                       18            says        opinion                four,              where         it       says    there's                   little            wonder

  19                       Q.         Yes,         that's fine.                                                                                             19            as     to why Mr.                      Baker            was        agitated.
  20                                  THE      VIDECGRAPHER:                               Time on the                  monitor is                          20                                       What is                the        basis of that                     opinion other than
  21                       2:17.            We're            going off                video record.                                                         21            speculation?
  22                                   (A    break             was        had.)                                                                             22                        A.              There's              no         speculation.                  I     believe                    that one
                                      THE      VIDEOGRAPHER:
                                                                                           Weire        back           on    video                          23            of     the        witnesses indicated that                                          Mr.        Baker            was         agitated
  23


  24                       record.             The           time         on     the           monitor is 2:22 p.m.                                         24            and     was           cursing               at        the     police officer                        and what                    have

  25           BY    MS.        CALLAN:                                                                                                                     25           you.              Mr    --         excuse              me,     Officer           Castro identified                                     in his



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                                                                                                                           Page 218                                                                                                                                  Page 220
           1   made by,              in our case,                the          District            Attorney's                     Office;                     1                                   CERTIFICATE               OF      OATH

                                                                                                                                                                  THE   STATE       OF     FLORIDA
                      that       true?
                                                                                                                                                             2



           2   is
                                                                                                                                 ,                           3    COUNTY       OF   PALM     BEACH
           3                          MR.        LOEW-REYES:                       Ob     ection,               foundation.
                                                                                                                                                             4




           4                          Go        ahead.
                                                                                                                                                             5
               BY   MS.         CALLAN:
           5


                                                                                                                                                             6                                       I,     the           undersigned authority,
           6              Û.              15 SOW?                                                                                                            7                                       certify               that      ANDREW            J.    SCOTT,

           7              A.          That         is       correct•                                                                                         8                                       III        personally                 appeared before
           8              Q.          And        so     the    police department, pursuant                                            to     the             9                                       me     and           was      duly         sworn       on       the   5th

           9   Brady           obligation               as    well           as    the     Michael Morton                                           10                                               day of               February,              2018.

   10          Statutory Obligation in                                    Texas,          they         turn over their                              11

                                                                                                                                                    12                                               Dated           this          loth day of February,
   11          entire          case         file?
                                                                                                                                                    13                                               2018.
   12                     A.          Yes,        you would hope so,                             correct.
                                                                                                                                                    14
                                                              isno evidence in this case that
               they             ola         d           t


   15                     A.          That's            not    been           an        issue of contention                           here-         17

   16                     Q.          With        regards to the trajectory,                                          if    the

   17          autopsy           photos           and the         medical examiner plus                                     Dr.       Arden,        18



   18          plaintiff's                  expert,           and Dr.              Adler,         defense's                 expert,                                                         Antoinette           Garza,             RPR,         FPR

                                                                                                                                                    19                                      Notary        Public           - State of Florida
   19          have taken the                     autopsy         photos                and shown the                      actual
                                                                                                                                                                                            My   Commission                Expires:               7/1/20
   20          trajectory                 through all of the organs                                    that you
                                                                                                                                                    20                                      My   Commission                No.:        FF        971325
  21           mentioned,                 and showed and                      testified            that           it is
                                                                                                                                                    21

  22           consistent                 with        Mr.     Baker           running at               a        slightly             bent

  23           angle starting                     to bleed when                     he     was     shot?                                            23


  24                                  MR.        LOEVI-REYES:                      Objection,                   mischaracterizes                   24


  25                      the     evidence in the record.                                                                                          25




                                                                                                                           Page 219                                                                                                                                  Page 221
       1                              THE        WITNESS:                I    have not            seen that                 testimony,                   1                                   CERT           I    F    I     C   A    TE
                                                                                                                                                         2        THE   STATE       OF     FLORIDA
       2                  however,               they're medical examiners                                       --    excuse          me'               3        COUNTY       OF   PALM     BEACH

       3                  they're               medical doctors.                                                                                        4




                                                                                                                                                         5              I, Antoinette Garza, Registered Professional
               BY   MS.        CALLAN:
                                                                                                                                                                  Reporter and Notary Public in and for the State of
       4




       5                  Q.          So        you won't         -           you       will rely                on    the       medical                6         Florida at large, do hereby certify that I was
                                                                                                                                                                  authorized to and did report said deposition in
               expert testimony                         and you are not                     going to use your
                                                                                                                                                                                                                   true
       6



                                                                                                                                                        7         stenotype; and that the foregoing pages are                                                    a




       7       opinion          regarding                   trajectory if it conflicts with                                            the                        and correct transcription of my shorthand notes of

       8       medical examiners or medical doctors?                                                                                                    8         said deposition.
                                                                                                                                                        9               I further certify that said deposition was
       9                  A.          Well,           I'm     going to state                      my       opinion based                                          taken at the time and place hereinabove set forth
  10           upon what              I     have        seen in the                 autopsy            reportS.                                    10             and that the taking of said deposition was commenced
                                                                                                                                                                  and completed as hereinabove set out .
  11                                  MS.        CALLAN:         One              moment.
                                                                                                                                                   11

  12                                  I     reserve the remaining questions                                                for       trial.                                I
                                                                                                                                                                          further certify that I am not attorney or
                                                                                                                                                   12             counsel  of any of the parties, nor am I a relative
  13                                  MR.       LOEVY-REYES:                       No     more questions.
                                                                                                                                                                  or employee of any attorney or counsel of party
  14                                  THE       VIDEOGRAPHER:                       The     time           is     2:58       p.m.                  13             connected with the action, nor am I financially
  15                      We're           going off           video record.                                                                                       interested in the action.
                                                                                                                                                   14

  16                                  THE       WITNESS:              I      will         read•                                                                         The foregoing certification of this transcript
  17                                 MS.        CALLAN:          I'm              ordering         the          transcript                 fOY     15             does not apply to any reproduction   of the same by
                                                                                                                                                                  any means unless under the direct control and/or
  18                   Monday                                                                                                                      16             direction of the certifying reporter.
                                                                                            shold off                 on     a       copy                              Dated                    February, 2018.
                       for       n



                                                                     n       ss

                                                                                                                                                   21
  22                                                          (Deposition                 was      concluded.)
                                                                                                                                                                                    Antoinette            Garza,            RPR,            R


  23                                                                                                                                               22

                                                                                                                                                   23
  24
                                                                                                                                                   24

  25
                                                                                                                                                   as




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                                                                                                      Page 222                                                                                                         Page 224
           1   DATE:                    February 10th,              2018                                                   1                                    ERR      A    T    A       SHEET
       2       TO:                      ANDREW       J.    SCOTT,         III                                              2    IN     RE:          Baker       v.    Castro
                                        c/o      Mark Loevy-Reyes,                Esq-                                     3    CR:        Antoinette           Garza,        RPR,        FPR

       3                                                                                                               4        DEPOSITION            OF:       ANDREW        J.       SCOTT,        III
               IN     RE:               Baker       v.    Castro                                                           5    TAKEN:            2/5/2018
       4

                                                                                                                           6




           5


                                                                                                                           7          DO     NOT    WRITE       ON    TRANSCRIPT                -   ENTER   CHANGES    HERE
                            Please       take notice that                  on        the 5th of
                                                                                 Monday,
                                                                                                                           8    PAGE               LINE              CHANGE                                  REASON
           6   February,               2018, you gave your                deposition in the                                                  #              #




               above-referred matter.       At                        that time, you did not
           7   waive signature.      It is now                         necessary   that you sign                           9
               your deposition.
           8          Please call our office    at the below-listed                                                   10


               number to schedule an appointment between the hours
           9   of 9:00 a.m. and 3:00 p.m., Monday through Friday.                                                     11
                      If you do not read and sign the deposition
  10           within      reasonable time (i.e., 30 days unless
                                a
                                                                                                                      12
               otherwise directed) the original, which has already
  11           been forwarded to the ordering attorney,      may  be
                                                                                                                      13
               filed with the Clerk of the Court. If you wish to
  12           waive your signature,      sign your name in the blank at
               the bottom of this letter and return it to us.
                                                                                                                      14


                                                                                                                      15
  13
                                                     Ve        ruly        yours,                                     16

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                                                                                                                      17

  15                                                                                                                  18

                                                                                                                           9    Please            forward the original signed errata sheet to
  16                                                                                                                            this             office so that copies may be distributed to
                                                           Antoinette            Garza,     RPR                       20        all parties.
  17                                                                                                                  21        Under penalty of perjury, I declare that I have read
  18           I     do     hereby          waive    my    signature                                                            my deposition and that it is true and correct
  19
                                                                                                                      22        subject to any changes in form or substance entered
  20           ANDREW           J.     SCOTT,       III                                                                         here.
  21           Cc:          Via       transcript:            Jennifer           Callan,     Esquire
  22           file         copy
                                                                                                                      23        DATE:

                                                                                                                      24        SIGNATURE            OF
  23
                                                                                                                                DEPONENT:
  24

  25                                                                                                                  25




                                                                                                      Page 223
       1                                         CERTIFICATE
       2
       3       THE        STATE        OF     FLORIDA

       4       COUNTY           OF     PALM      BEACH


       5                    I   hereby          certify      that     I    have read        the    foregoing
       6       deposition               by     me   given,     and that           the     statements
       7       contained herein are true and correct                                       to   the    best      of

       8       my     knowledge and belief,                        with the exception                 of   any

       9       corrections                  or notations           made     on    the     errata      sheet,

  10           if     one       was     executed.
  11



  12                        Dated       this               day of

  13           2018.

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